          Case: 24-1285   Document: 30    Page: 1   Filed: 01/15/2024




                               No. 2024-1285

           UNITED STATES COURT OF APPEALS
              FOR THE FEDERAL CIRCUIT
                                 APPLE INC.,
                                                               Appellant,
                                   v.
                    INTERNATIONAL TRADE COMMISSION,
                                                         Appellee,
            MASIMO CORPORATION, CERCACOR LABORATORIES, INC.,
                                                      Intervenors,

       On Appeal from the United States International Trade Commission
                     in Investigation No. 337-TA-1276

 NON-CONFIDENTIAL REPLY IN SUPPORT OF APPELLANT APPLE
 INC.’S EMERGENCY MOTION TO STAY ENFORCEMENT OF ITC’S
                ORDERS PENDING REVIEW


JOSEPH J. MUELLER                          MARK D. SELWYN
SARAH R. FRAZIER                           THOMAS G. SPRANKLING
WILMER CUTLER PICKERING                    WILMER CUTLER PICKERING
  HALE AND DORR LLP                          HALE AND DORR LLP
60 State Street                            2600 El Camino Real, Suite 400
Boston, MA 02109                           Palo Alto, CA 94306
(617) 526-6000                             (650) 858-6000
DAVID P. YIN                               DEREK GOSMA
WILMER CUTLER PICKERING                    WILMER CUTLER PICKERING
  HALE AND DORR LLP                          HALE AND DORR LLP
2100 Pennsylvania Avenue NW                350 S. Grand Avenue, Suite 2400
Washington DC 20037                        Los Angeles, CA 90071
(202) 663-6000                             (213) 443-5300
January 15, 2024                           Attorneys for Appellant Apple Inc.


                                    -i-
                Case: 24-1285            Document: 30            Page: 2       Filed: 01/15/2024




                                        TABLE OF CONTENTS

                                                                                                                Page
TABLE OF AUTHORITIES ................................................................................... iii

ARGUMENT .............................................................................................................3

I.       LIKELIHOOD OF SUCCESS ................................................................................. 3

         A.       Apple Will Likely Prevail On Domestic Industry ................................ 3

         B.       Apple Will Likely Prevail On Validity ................................................. 6

         C.       Apple Will Likely Prevail On Laches ................................................... 8

II.      IRREPARABLE HARM .........................................................................................9

III.     BALANCE OF EQUITIES ...................................................................................10

IV.      PUBLIC INTEREST ............................................................................................11

CERTIFICATE OF INTEREST .................................................................................i

ADDENDUM

CERTIFICATE OF SERVICE

CERTIFICATE OF COMPLIANCE

Rule 25.1(e)(1)(B) Statement: The material omitted on page 4 contains information
that complainants Masimo Corporation and Cercacor Laboratories, Inc. designated
as Confidential Business Information under the Administrative Protective Order in
effect in ITC Investigation No. 1276. The material omitted on pages 10 and 12
contains information that Appellant Apple Inc. designated as confidential regarding
its proposed redesign for the infringing Apple Watches.




                                                        - ii -
                Case: 24-1285             Document: 30             Page: 3       Filed: 01/15/2024




                                      TABLE OF AUTHORITIES

                                                       CASES

                                                                                                               Page(s)
Align Technology, Inc. v. International Trade Commission,
   771 F.3d 1317 (Fed. Cir. 2014) ............................................................................8

In re Epstein,
    32 F.3d 1559 (Fed. Cir. 1994) ..............................................................................6

In re Lee,
    277 F.3d 1338 (Fed. Cir. 2002) ............................................................................1
In re Paulsen,
    30 F.3d 1475 (Fed. Cir. 1994) ..............................................................................7

Metalcraft of Mayville Inc. v. The Toro Company,
  848 F.3d 1358 (Fed. Cir. 2017) ............................................................................9
Microsoft Corp v. DataTern, Inc.,
  755 F.3d 899 (Fed. Cir. 2014) ..............................................................................1
Rasmusson v. SmithKline Beecham Corp.,
  413 F.3d 1318 (Fed Cir. 2005) .............................................................................7
Sonos, Inc. v. Google LLC,
   2023 WL 6542320 (N.D. Cal. Oct. 6, 2023) ........................................................ 8
Trustees in Bankruptcy of North American Rubber Thread Co. v.
   United States,
   593 F.3d 1346 (Fed. Cir. 2010) ..........................................................................11

                                                   STATUTES
35 U.S.C. § 112 ..........................................................................................................7

                                         OTHER AUTHORITIES

Order Granting-In-Part and Denying-In- Part Apple’s Rule 50(a)
  Motion, Apple Inc. v. Masimo Corp., No. 8-20-cv-00048-JVS
  (C.D. Cal. May 4, 2023) (ECF No. 1724) ............................................................ 2


                                                         - iii -
            Case: 24-1285    Document: 30     Page: 4   Filed: 01/15/2024




      The Commission’s opposition relies heavily on new substantive

arguments—including accusations of waiver—not in the stay decision below. This

approach is procedurally improper under the Chenery principle that “review of an

administrative decision must be made on the grounds relied on by the agency.” In

re Lee, 277 F.3d 1338, 1345-1346 (Fed. Cir. 2002). Moreover, the new arguments

are meritless and only serve to highlight the Commission’s lack of understanding

of its own record.

      Masimo, too, advances numerous new points, including in an improper

7,500-word declaration from its CEO. The declaration should be disregarded, as

(1) it is a “fundamentally unfair” attempt to exceed the word limit, Microsoft Corp

v. DataTern, Inc., 755 F.3d 899, 910 (Fed. Cir. 2014), (2) it was never submitted to

the Commission, contains many new alleged facts, and cites 32 exhibits outside the

Commission record, and (3) Mr. Kiani plainly lacks personal knowledge for many

statements. 1

      Regardless, the declaration’s self-aggrandizing statements about the

purported value of Masimo’s technology cannot be squared with Masimo’s

repeated losses in the courts. This Court has affirmed the unpatentability of 338




1
  This Court should at least disregard paragraphs not cited in Masimo’s opposition
(¶¶27-39, 37-42, 47, 70, 72-76, 82), which serve only to air personal grievances
and beliefs.

                                        -1-
           Case: 24-1285     Document: 30     Page: 5   Filed: 01/15/2024




claims from fifteen Masimo patents related to blood oxygen measurement. The

2023 trade secrets trial mentioned throughout Mr. Kiani’s declaration was equally

disastrous for Masimo. The judge granted Apple JMOL on half of Masimo’s

alleged trade secrets, Apple Inc. v. Masimo Corp., No. 20-cv-00048, ECF No. 1724

(May 4, 2023), and—according to a jury note—all but one juror was prepared to

vote in Apple’s favor on the remainder, id. ECF No. 1713.

      Mr. Kiani’s attempts to denigrate Apple Watch are equally divorced from

reality. The accuracy of Apple Watch’s Blood Oxygen feature has been praised by

medical journals, Reply-Add-25-41, and numerous medical professionals and

organizations like the American Heart Association explained to the Commission

the importance of Watch—including its pulse oximetry feature—to public health

and medical research. Reply-Add-2-23.

      At root, the Commission and Masimo ask this Court to endorse banning the

importation and sale of a pioneering product made by a quintessentially American

company that directly employs more than 90,000 employees—and supports the

employment of hundreds of thousands of others—in the U.S. Worse, they take this

position to protect Masimo’s W1 watch, which concededly (1) did not exist when

Masimo filed its complaint, (2) was not placed in the consumer channel, and (3) is

sold only in de minimis quantities even now, well over two years after this




                                        -2-
            Case: 24-1285    Document: 30     Page: 6   Filed: 01/15/2024




Investigation began on the false premise that Masimo had an established domestic

industry.

                                  ARGUMENT

I.    LIKELIHOOD OF SUCCESS 2

      A.     Apple Will Likely Prevail On Domestic Industry

      Masimo has failed to identify an “actual article” that practices the asserted

claims. Mot. 6-11. It is now undisputed the purported “article” depicted in the

CAD drawings attached to Masimo’s Complaint never existed and even Masimo

concedes the drawings “are not patent-practicing articles.” ITC-Opp. 5-6;

Masimo-Opp. 6-7. Instead, the Commission and Masimo assert the law permits a

complainant to establish a domestic industry existed at the time of complaint by

pointing later to different items than what appears in the complaint (most of which

did not exist when the Complaint was filed).3 Even the Commission cannot

identify any precedent for this position. Rewarding a bait-and-switch approach

renders the “actual article” requirement meaningless, granting complainants with

CAD software and a future-product idea access to the Commission’s extraordinary

injunctive powers.



2
  The suggestion (ITC-Opp. 1 n.2, Masimo-Opp. 11) that Apple is not challenging
the Commission’s infringement findings is specious. See Mot. 6 n.4.
3
 The Commission’s decision expressly declined to rely on a theory that Masimo
was in the process of developing a domestic industry. Stay-Add-97.

                                        -3-
           Case: 24-1285      Document: 30     Page: 7   Filed: 01/15/2024




      Furthermore, neither the Commission nor Masimo identifies any authority

that the Commission can find a domestic industry exists based solely on

circumstantial evidence. 4 That, however, is what happened here. There is no

direct evidence that any of the eight “articles” Masimo proffered practiced the

asserted claims.

      “RevA” was the only alleged article identified by Masimo that existed when

the Complaint was filed, Mot. 9, but it plainly does not practice the claims at issue.

As the images in Apple’s opening brief show, it has no strap or other means of

being “user worn” (as all remaining claims require). Mot. 9, 12.5

      Equally important, nothing in the record showed RevA—or the RevD or the

three RevE items—were operational (i.e., could actually measure blood oxygen)

before the complaint’s filing. Mot. 10. Masimo introduced the items into evidence

yet made no attempt to show live at the hearing or through recorded

demonstrations that the “Rev” articles were configured to measure blood oxygen.




4
 The cases cited permitted circumstantial evidence to prove facts in the control of
others (a purported infringer (Lucent, Moleculon) and a third-party licensee
(Filament)). That rationale makes no sense here, when the question is whether
Masimo itself possessed a certain item.
5
  The ALJ found RevA was “produced in discovery without a strap.” Stay-Add-
                                                                          Masimo Confidential Business Inform

243. The only strap-related evidence is vague testimony that RevA had
Masimo Confidential Business Information
                                         ITC-Add-21.

                                         -4-
             Case: 24-1285   Document: 30     Page: 8   Filed: 01/15/2024




        To remedy this failure of proof, the ALJ (and by extension, the Commission)

pointed to evidence that different “prototype devices” “consistent with” the specific

RevA, RevD, and three RevE items allegedly measured blood oxygen. Mot. 10

(citing inter alia Stay-Add-221-222 & n.16). Indeed, Masimo has acknowledged

that several devices with RevA sensors were not usable when the Complaint was

filed. See Reply-Add-49, Reply-Add-55-56. The Commission and Masimo do not

seriously dispute the lack of direct evidence. Instead, the Commission’s brief

echoes the ALJ’s language. E.g., ITC-Opp. 7 (“Mr. Al-Ali described internal

testing of blood oxygen saturation using a device consistent with” RevD).6 While

the Commission asserts “a RevE sensor” was tested before discovery, id. 8, the

underlying cite confirms it was not one of the three RevE sensors identified in

discovery as the actual article, Stay-Add-244 (ALJ finding “Mr. Al-Ali described

testing of RevE devices (though not the specific devices produced)”).

        The Commission’s chief response is to accuse Apple of “abandon[ing]” the

position that RevA does not practice the claims. ITC-Opp 6 n.4; see Masimo-Opp

8. That is wrong, as explained above. Moreover, it is the Commission’s stay

decision that abandoned any argument regarding why RevA (or RevD, or the RevE

items) supports its domestic industry conclusion. The only specific reason that




6
    Emphasis added in quotes throughout.

                                        -5-
            Case: 24-1285    Document: 30     Page: 9   Filed: 01/15/2024




decision gave for rejecting Apple’s domestic industry arguments (including that

RevA lacks a strap) was they raised questions of fact not law—a rule that cannot

be squared with Standard Havens. Mot. 11. The Commission does not even

attempt to defend that rationale.

      In short, this case illustrates that the Commission has adopted an

interpretation of “domestic industry” completely divorced from any reasonable

meaning of that term. Apple respectfully submits it is likely to succeed in

persuading the Court to restore the proper standards for Commission

investigations, which would alone compel a judgment for Apple.

      B.     Apple Will Likely Prevail On Validity

      1.     “User-worn.” The Commission erred by requiring Apple to establish

Lumidigm taught measuring blood oxygen at the wrist specifically. Mot. 11-14.

This enablement issue did not arise until the ALJ’s decision, and Apple raised the

ALJ’s error at the first available opportunity—its petition. See Reply-Add-59-64.

The Commission is accordingly wrong (at 11) that Apple failed to timely raise this

argument.

      The Commission (at 12) disputes this Court has held that a patent challenger

cannot be required to show the prior art enables more than the patent-at-issue. The

Commission is again wrong. See In re Epstein, 32 F.3d 1559, 1568 (Fed. Cir.

1994) (rejecting argument prior art is not enabling when patent owner “did not



                                        -6-
            Case: 24-1285     Document: 30       Page: 10   Filed: 01/15/2024




provide the type of detail in his specification he now argues is necessary in prior

art references”); accord In re Paulsen, 30 F.3d 1475, 1481 n.9 (Fed. Cir. 1994).

The Commission ignores Paulsen, and while it argues Epstein should be limited to

its facts, it provides no reason why that is so. 7

       Finally, the Commission (at 13) contends Apple created the problem by

citing Lumidigm, which does not identify any specific embodiments worn at

locations other than the wrist. However, it does not deny that (1) Lumidigm states

its sensor can be included in any “portable electronic device” and (2) nothing in

Lumidigm suggests the wristwatch embodiment could not be worn elsewhere on

the body (e.g., upper arm or ankle).

       2.     “Windows” (Mot. 14-15). First, the Commission (at 15) misstates

the record in suggesting Apple is making its KSR argument “for the first time.”

Apple prevailed on this limitation before the ALJ, and thus had no reason to raise

the issue in its petition to the Commission. Stay-Add-281-284.8 Masimo

challenged the ALJ’s findings on “windows,” and Apple timely raised the KSR



7
 The Commission’s lone authority (Rasmusson) supports Apple. It holds that the
enablement standard is lower when assessing whether prior art anticipates an
asserted claim than when deciding enablement under §112. 413 F.3d at 1325.
8
  Masimo is wrong (at 14) that the ALJ ruled in its favor on this issue. Masimo
cites the ruling on claim 22’s “within” limitation, which Apple’s motion addressed
separately. Mot. 15. Neither the Commission nor Masimo substantively responds
to the “within” argument.

                                           -7-
           Case: 24-1285     Document: 30      Page: 11   Filed: 01/15/2024




point in its response to Masimo’s petition. Reply-Add-68-69, Reply-Add-76-77.

Second, the Commission (at 16) and Masimo (at 15) dispute that a limited number

of design alternatives exist for the “windows” limitation, but Apple’s expert

identified only two, Mot. 14, and neither the Commission nor Masimo has pointed

to further alternatives. Finally, the Commission (at 16) speculates a convex

surface with separate embedded windows might be uncomfortable, but it is

improper for the Commission to raise a “post hoc rationalization” on appeal. Align

Tech., Inc. v. ITC, 771 F.3d 1317, 1324 (Fed. Cir. 2014).

      C.     Apple Will Likely Prevail On Laches

      The Commission (at 17-19) and Masimo (at 17) ask this Court to adopt a

novel waiver rule—i.e., that a movant that raises an issue in a succinct manner

must suffer the same punishment as one that fails to raise it at all. No case law

supports such a harsh approach, which is particularly inequitable here given the

Commission’s final decision itself did not find waiver and provided its post hoc

rationalization only in the stay decision.

      Masimo (at 16-17) briefly argues the merits, but does not dispute that the

chief reason why the ALJ found no delay was the mere fact that Masimo filed

patent applications in the intervening time period other than the ones at issue here.

That justification is insufficient to avoid laches. E.g., Sonos, Inc. v. Google LLC,

2023 WL 6542320, at *1-2, 11, 26-27 (N.D. Cal. Oct. 6, 2023) (laches applied



                                         -8-
           Case: 24-1285      Document: 30      Page: 12   Filed: 01/15/2024




where patentee relied on “a daisy chain of continuation applications” to claim

priority to a thirteen-year-old application).

II.   IRREPARABLE HARM

      The Commission and Masimo argue Apple’s reputational harm cannot be

truly irreparable because Apple can still sell Apple Watch SE and other, non-

Watch products. ITC-Opp. 18, 23; Masimo-Opp. 18. But the Commission’s final

decision rejected the argument that SE is a reasonable substitute because it lacks

important, life-saving features like ECG. Stay-Add-122 n.65. And neither the

Commission nor Masimo explains why Apple’s ability to sell, e.g., iPhones has

any bearing on this case.

      The Commission and Masimo also contend Apple has failed to present

sufficient detail establishing its irreparable harm. ITC-Opp. 20-21; Masimo-Opp.

20-21. But Apple presented the same quantum of evidence this Court found

sufficient in Metalcraft. Mot. 19 & n.9. Masimo has no answer to this case law; it

does not even cite Metalcraft. While the Commission asserts Metalcraft’s holding

was limited to the “record in that case,” it provides no meaningful reason why that

is so given that there was comparable evidence in this case. 9




9
 While the declarations Apple previously cited were originally submitted to show
harm to the public, there is no reason why the same evidence cannot serve two
purposes.

                                          -9-
           Case: 24-1285    Document: 30        Page: 13           Filed: 01/15/2024




       Finally, the Commission and Masimo contend Apple will not suffer

irreparable harm if CBP approves a redesigned version of the accused Watch

products. ITC-Opp. 21; Masimo-Opp. 19. While a redesign was approved on

Friday, it confidential redesign information .10 This means Apple will

continue to suffer reputational harm from being unable to provide consumers with
                                                   confidential redesign information
a fully-featured Apple Watch product, including                                        .

III.   BALANCE OF EQUITIES

       Masimo still has no meaningful competing product to Apple Watch—i.e.,

Masimo sells the W1 watch in de minimis quantities in the U.S., it has not put the

W1 in the consumer (as opposed to clinical) channel, and Masimo’s “Freedom”

watch has never been sold. See Stay-Add-11-12; see also Kiani Decl. ¶¶19-22.

Moreover, neither Masimo nor the Commission disputes the lone, generic “harm”

the Commission identified (that Masimo will be unable to make full use of its

patents) is insufficient to warrant denying Apple’s motion. Mot. 20-21.

       Instead, Masimo and the Commission advance new and meritless theories

of harm. For example, the suggestion (ITC-Opp. 21; Masimo-Opp. 21) that

Masimo will suffer harm from competing against an infringing product overlooks

the undisputed fact that Masimo does not sell its purportedly competing product in


10
  Masimo’s 28(j) letter improperly quotes a phrase from a non-public document,
language that Apple has uniformly marked as confidential with one inadvertent
oversight.

                                       - 10 -
           Case: 24-1285     Document: 30         Page: 14   Filed: 01/15/2024




more than de minimis amounts. Masimo’s other theories of harm (e.g., a stay will

affect public perceptions of pulse oximetry and somehow demoralize its

employees) are unsupported by case law and suffer from the same basic factual

flaw—Masimo sells no competing product in meaningful amounts such that the

absence of Apple Watch from the market would affect perception of Masimo’s

technology. And while Masimo argues that a stay would appear to validate

Apple’s legal position, Masimo successfully urged the Commission to reject the

same basic argument below when it was advanced by Apple (i.e., allowing the

orders to go into effect would validate Masimo’s position). See Stay-Add-11;

Reply-Add-82. At minimum, Masimo is estopped from taking a contrary position.

See Trustees v. United States, 593 F.3d 1346, 1354 (Fed. Cir. 2010).

IV.   PUBLIC INTEREST

      Neither the Commission nor Masimo disputes the public interest factor for a

stay pending appeal is easier to satisfy than the statutory public interest factors

under Section 337. See Mot. 23. However, both parties rely almost exclusively on

the Commission’s statutory findings without explaining why the same analysis

applies to the different legal standard used for a stay. See ITC-Opp. 22-23;

Masimo-Opp. 22-26.

      The Commission and Masimo also point to the Commission’s conclusion

that substitutes are available for the flagship Apple Watch models. But the



                                         - 11 -
           Case: 24-1285     Document: 30        Page: 15   Filed: 01/15/2024




Commission has already held the only Apple Watch all agree is non-infringing (the

SE) lacks ECG and therefore is not a “reasonable substitute,” Stay-Add-122 n.65,

and other devices lack the unique combination of health, wellness, and

connectivity features included in Apple’s flagship Watch products. Moreover,

Apple’s redesigned Watch confidential redesign information , meaning not

entering a stay would impair the public’s use of that feature.

      Finally, the Commission and Masimo note the Commission’s final decision

includes a limited repair/replacement exception. The Commission’s stay decision

did not rest on that ground, likely because the exception applies only to a discrete

class of customers, Stay-Add-135-136. Anyone beyond a relatively recent

purchaser or one who has paid for enhanced protection may have no replacement

option. That result will hurt new consumers (who will be deprived of an

exceptional product) and medical researchers (who will be impeded from enrolling

new participants in ongoing studies).




                                        - 12 -
          Case: 24-1285   Document: 30      Page: 16   Filed: 01/15/2024




                                            Respectfully submitted,

                                            /s/ Mark D. Selwyn
JOSEPH J. MUELLER                           MARK D. SELWYN
SARAH R. FRAZIER                            THOMAS G. SPRANKLING
WILMER CUTLER PICKERING                     WILMER CUTLER PICKERING
  HALE AND DORR LLP                            HALE AND DORR LLP
60 State Street                             2600 El Camino Real, Suite 400
Boston, MA 02109                            Palo Alto, CA 94306
(617) 526-6000                              (650) 858-6000

DAVID P. YIN                                 DEREK GOSMA
WILMER CUTLER PICKERING                      WILMER CUTLER PICKERING
  HALE AND DORR LLP                            HALE AND DORR LLP
2100 Pennsylvania Avenue NW                  350 S. Grand Avenue, Suite 2400
Washington DC 20037                          Los Angeles, CA 90071
(202) 663-6000                               (213) 443-5300

                                             Attorneys for Appellant Apple Inc.

January 15, 2024




                                   - 13 -
            Case: 24-1285      Document: 30       Page: 17     Filed: 01/15/2024




                           CERTIFICATE OF INTEREST

       Counsel for Appellant Apple Inc. certifies the following:

        1.     Represented Entities. Fed. Cir. R. 47.4(a)(1). Provide the full names
of all entities represented by undersigned counsel in this case.

       Apple Inc.

        2.     Real Party in Interest. Fed. Cir. R. 47.4(a)(2). Provide the full names
of all real parties in interest for the entities. Do not list the real parties if they are the
same as the entities.

       None.

      3.     Parent Corporations and Stockholders. Fed. Cir. R. 47.4(a)(3).
Provide the full names of all parent corporations for the entities and all publicly held
companies that own 10% or more stock in the entities.

       None.

       4.    Legal Representatives. List all law firms, partners, and associates that
(a) appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already entered
an appearance in this court. Fed. Cir. R. 47.4(a)(4).

       WILMER CUTLER PICKERING HALE AND DORR LLP: Brittany Blueitt Amadi,
       Thomas Anderson, James Bor-Zale, Alison Burton, David L. Cavanaugh,
       Jennifer Charlton (former), Jonathan A. Cox, Ravi Deol, Kim Do, Laura
       Donovan, Sydney Donovan, Michael Esch (former), Nina Garcia, Richard
       Goldenberg (former), David Gringer, Vikram Iyer, Brian Jacobsmeyer
       (former), Julius Jefferson (former), Rauvin Johl, Jennifer John (former),
       Joshua Lerner, James Lyons, Lauren Mandell, Courtney Merrill, Zach
       Nemtzow, Henry Nikogosyan, Richard W. O’Neill, Nora Q.E. Passamaneck,
       Allison Que, David Ross, Cristina Salcedo, Hannah Santasawatkul, Emily
       Scherker, Michaela P. Sewall, Labdhi Sheth, Linda Sun (former), Jose
       Valenzuela, Cynthia D. Vreeland, Yifan (Ivan) Wang, Amy K. Wigmore

       FISH & RICHARDSON P.C.: Michael Amon, Benjamin Elacqua, Scott Flanz




                                            -i-
          Case: 24-1285     Document: 30         Page: 18   Filed: 01/15/2024




      GIBSON, DUNN & CRUTCHER LLP: Brian Andrea (former), David
      Brzozowski, Mark Lyon (former)

      POLSINELLI LAW FIRM: Deanna Okum, Sean Wesp

      WEIL, GOTSHAL & MANGES LLP: Mark Perry

       5.     Related Cases. Other than the originating case(s) for this case, are
there related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

 X Yes (file separate notice; see below)             No         N/A (amicus/movant)

If yes, concurrently file a separate Notice of Related Case Information that complies
with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate Notice
must only be filed with the first Certificate of Interest or, subsequently, if
information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).

Notice appears at C.A. Docket 4.

      6.    Organizational Victims and Bankruptcy Cases. Provide any
information required under Fed. R. App. P. 26.1(b) (organizational victims in
criminal cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R.
47.4(a)(6).

      None.

Dated: January 15, 2024                          /s/ Mark D. Sewlyn
                                                 MARK D. SELWYN
                                                 WILMER CUTLER PICKERING
                                                    HALE AND DORR LLP
                                                 2600 El Camino Real, Suite 400
                                                 Palo Alto, CA 94306
                                                 (650) 858-6000




                                        - ii -
Case: 24-1285   Document: 30   Page: 19   Filed: 01/15/2024




    ADDENDUM
           Case: 24-1285        Document: 30   Page: 20   Filed: 01/15/2024




                                     No. 2024-1285

            UNITED STATES COURT OF APPEALS
               FOR THE FEDERAL CIRCUIT
                                      APPLE INC.,
                                                                    Appellant,
                                       v.
                        INTERNATIONAL TRADE COMMISSION,
                                                          Appellee,
             MASIMO CORPORATION, CERCACOR LABORATORIES, INC.,
                                                       Intervenors,

        On Appeal from the United States International Trade Commission
                      in Investigation No. 337-TA-1276

  DECLARATION OF MARK D. SELWYN IN FURTHER SUPPORT OF
    APPELLANT APPLE INC.’S EMERGENCY MOTION TO STAY
      ENFORCEMENT OF ITC’S ORDERS PENDING REVIEW


      I, Mark D. Selwyn, pursuant to 28 U.S.C. § 1746, declare as follows:

      1.     I am a partner at Wilmer Cutler Pickering Hale and Dorr LLP, counsel

to Appellant Apple Inc. in the above-captioned appeal. I have personal knowledge

of the facts set forth below.

      2.     Attached hereto as Exhibit 1 is a true and correct copy of the Statement

of Non-Party American Heart Association on the Public Interest of the

Recommended Remedial Orders But Not in Support of Any Party, dated March 1,

2023, filed in Investigation No. 337-TA-1276, In the Matter of Certain Light-Based
           Case: 24-1285    Document: 30     Page: 21    Filed: 01/15/2024




Physiological Measurement Devices and Components Thereof (hereinafter “1276

Investigation”).

      3.     Attached hereto as Exhibit 2 is a true and correct copy of a declaration

of Dr. Richard Milani, dated March 1, 2023, filed in the 1276 Investigation.

      4.     Attached hereto as Exhibit 3 is a true and correct copy of a letter from

Dr. Stephen Ruoss, dated February 21, 2023, filed in the 1276 Investigation.

      5.     Attached hereto as Exhibit 4 is a true and correct copy of a letter from

Dr. Russell Bowler, filed in the 1276 Investigation on February 17, 2023.

      6.     Attached hereto as Exhibit 5 is a true and correct copy of an article by

Carmen Spaccarotella, et al., titled “Assessment Of Non-Invasive Measurements Of

Oxygen Saturation And Heart Rate With An Apple Smartwatch: Comparison With

A Standard Pulse Oximeter,” published on March 8, 2022 in the Journal of Clinical

Medicine, available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8951323/,

which states on page 5 that “[t]he major result of the present study is that the

measurements of SpO2 obtained using the Apple Watch are reliable compared to the

standard pulse oximetry technique in patients with cardiovascular disease, lung

disease, and healthy subjects.”

      7.     Attached hereto as Exhibit 6 is a true and correct copy of an article by

Jakub Rafl, et al., titled “Commercial Smartwatch With Pulse Oximeter Detects

Short-time Hypoxemia As Well As Standard Medical-grade Device: Validation
            Case: 24-1285    Document: 30    Page: 22    Filed: 01/15/2024




Study,” published on October 11, 2022 in Digital Health, available at

https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9554125/, which states on page 4

that “SpO2 measurement by Apple Watch Series 6, a consumer product, did not

differ on average from SpO2 measurement by Masimo Radical-7 pulse oximeter, a

medical device. The average absolute difference or bias between smartwatch and

oximeter SpO2 measurements, evaluated for all pooled data, in two ranges and at

the individual study times, was less than 1% SpO2.”

      8.     Attached hereto as Exhibit 7 is a true and correct excerpt from

Complainants’ Sixth Supplemental Responses and Objections to Apple Inc.’s

Seventh Set of Interrogatories (82, 90), dated April 3, 2022, which was trial exhibit

RX-1183C in the 1276 Investigation.         This exhibit contains information that

Complainants designated as Confidential Business Information pursuant to the

Administrative Protective Order in the 1276 Investigation. No public version of this

document is currently available.

      9.     Attached hereto as Exhibit 8 is a true and correct excerpt from the

public version of Respondent Apple Inc.’s January 23, 2023 Petition for Review of

the Initial Determination of Violation of Section 337 filed in the 1276 Investigation.

      10.    Attached hereto as Exhibit 9 is a true and correct excerpt from the

public version of Complainants’ January 23, 2023 Petition for Review of the Initial

Determination of Violation of Section 337 filed in the 1276 Investigation.
            Case: 24-1285   Document: 30    Page: 23   Filed: 01/15/2024




      11.    Attached hereto as Exhibit 10 is a true and correct excerpt from the

public version of Respondent Apple Inc.’s January 31, 2023 Response to

Complainants’ Petition for Review filed in the 1276 Investigation.

      12.    Attached hereto as Exhibit 11 is a true and correct excerpt from the

public version of Complainants’ November 9, 2023 Opposition to Respondent Apple

Inc.’s Motion to Stay Exclusion and Cease and Desist Orders Pending Appeal and/or

in Light of the Potential Government Shutdown filed in the 1276 Investigation.



Executed on: January 15, 2024               /s/ Mark D. Selwyn
                                            Mark D. Selwyn
         Case: 24-1285    Document: 30    Page: 24   Filed: 01/15/2024




                          TABLE OF CONTENTS

Ex. Document                                                  Pages

1    Statement of Non-Party American Heart Association on Reply-Add-1-10
     the Public Interest of the Recommended Remedial
     Orders But Not in Support of Any Party, March 1,
     2023,

2    Declaration of Dr. Richard Milani, March 1, 2023         Reply-Add-11-18

3    Letter from Dr. Stephen Ruoss, February 21, 2023         Reply-Add-19-21

4    Letter from Dr. Russell Bowler, February 17, 2023        Reply-Add-22-23

5    Carmen Spaccarotella, et al., “Assessment Of Non-        Reply-Add-24-31
     Invasive Measurements Of Oxygen Saturation And
     Heart Rate With An Apple Smartwatch: Comparison
     With A Standard Pulse Oximeter,” Journal of Clinical
     Medicine, March 8, 2022

6    Jakub Rafl, et al., “Commercial Smartwatch With Pulse Reply-Add-32-41
     Oximeter Detects Short-time Hypoxemia As Well As
     Standard Medical-grade Device: Validation Study,”
     Digital Health, October 11, 2022

7    Complainants’ Sixth Supplemental Responses and           Reply-Add-42-56
     Objections to Apple Inc.’s Seventh Set of
     Interrogatories (82, 90) (RX-1183C), April 3, 2022,
     excerpted

8    Respondent Apple Inc.’s Petition for Review of the       Reply-Add-57-65
     Initial Determination of Violation of Section 337,
     January 23, 2023, excerpted

9    Complainants’ Petition for Review of the Initial         Reply-Add-66-71
     Determination of Violation of Section 337, January 23,
     2023, excerpted

10   Respondent Apple Inc.’s Response to Complainants’        Reply-Add-72-78
     Petition for Review, January 31, 2023, excerpted
          Case: 24-1285    Document: 30    Page: 25   Filed: 01/15/2024




Ex. Document                                                  Pages

11    Complainants’ Opposition to Respondent Apple Inc.’s     Reply-Add-79-84
      Motion to Stay Exclusion and Cease and Desist Orders
      Pending Appeal and/or in Light of the Potential
      Government Shutdown, November 9, 2023, excerpted



                      RULE 25.1(e)(1)(B) STATEMENT

The material omitted from Addendum pages Reply-Add-43-56 contains
information that Complainants Masimo Corporation and Cercacor Laboratories,
Inc. designated as Confidential Business Information under the Administrative
Protective Order in effect in ITC Investigation No. 1276.
            Case: 24-1285        Document: 30        Page: 26      Filed: 01/15/2024




              UNITED STATES INTERNATIONAL TRADE COMMISSION

                                        Washington, D.C.

In the Matter of

CERTAIN LIGHT-BASED
PHYSIOLOGICAL MEASUREMENT                                     Inv. No. 337-TA-1276
DEVICES AND COMPONENTS
THEREOF


ORDER NO. 1:           PROTECTIVE ORDER

                                        (August 18, 2021)

       WHEREAS, documents and information may be sought, produced or exhibited by and

among the parties to the above captioned proceeding, which materials relate to trade secrets or

other confidential research, development or commercial information, as such terms are used in

the Commission's Rules, 19 C.F.R. § 210.5;

       IT IS HEREBY ORDERED THAT:

       1. Confidential business information is information which concerns or relates to the trade

secrets, processes, operations, style of work, or apparatus, or to the production, sales, shipments,

purchases, transfers, identification of customers, inventories, amount or source of any income,

profits, losses, or expenditures of any person, firm, partnership, corporation, or other

organization, or other information of commercial value, the disclosure of which is likely to have

the effect of either (i) impairing the Commission's ability to obtain such information as is

necessary to perform its statutory functions; or (ii) causing substantial harm to the competitive

position of the person, firm, partnership, corporation, or other organization from which the

information was obtained, unless the Commission is required by law to disclose such
              Case: 24-1285       Document: 30       Page: 27     Filed: 01/15/2024




information. The term “confidential business information” includes “proprietary information”

within the meaning of section 777(b) of the Tariff Act of 1930 (19 U.S.C. § 1677f(b)).

          2(a). Any information submitted, in pre hearing discovery or in a pleading, motion, or

response to a motion either voluntarily or pursuant to order, in this investigation, which is

asserted by a supplier to contain or constitute confidential business information shall be so

designated by such supplier in writing, or orally at a deposition, conference or hearing, and shall

be segregated from other information being submitted.           Documents shall be clearly and

prominently marked on their face with the legend: “CONFIDENTIAL BUSINESS

INFORMATION, SUBJECT TO PROTECTIVE ORDER,” or a comparable notice.                           Such

information, whether submitted in writing or in oral testimony, shall be treated in accordance

with the terms of this protective order.

          (b). The Administrative Law Judge or the Commission may determine that information

alleged to be confidential is not confidential, or that its disclosure is necessary for the proper

disposition of the proceeding, before, during or after the close of a hearing herein. If such a

determination is made by the Administrative Law Judge or the Commission, opportunity shall be

provided to the supplier of such information to argue its confidentiality prior to the time of such

ruling.

          3. In the absence of written permission from the supplier or an order by the Commission

or the Administrative Law Judge, any confidential documents or business information submitted

in accordance with the provisions of paragraph 2 above shall not be disclosed to any person other

than: (i) outside counsel for parties to this investigation, including necessary secretarial and

support personnel assisting such counsel; (ii) qualified persons taking testimony involving such

documents or information and necessary stenographic and clerical personnel thereof; (iii)
                                         -2-
              Case: 24-1285           Document: 30          Page: 28        Filed: 01/15/2024




technical experts and their staff who are employed for the purposes of this litigation (unless they

are otherwise employed by, consultants to, or otherwise affiliated with a non-governmental

party, or are employees of any domestic or foreign manufacturer, wholesaler, retailer, or

distributor of the products, devices or component parts which are the subject of this

investigation); (iv) the Commission, the Administrative Law Judge, the Commission staff, and

personnel of any governmental agency as authorized by the Commission; (v) the Commission, its

employees and Offices, and contract personnel (a) for developing or maintaining the records of

this investigation or related proceedings, or (b) in internal investigations, audits, reviews,

evaluations relating to the programs, personnel, and operations of the Commission including

under to 5 U.S.C. Appendix 3; and (vi) U.S. government employees and contract personnel,

solely for cybersecurity purposes. 1

        4. Confidential business information submitted in accordance with the provisions of

paragraph 2 above shall not be made available to any person designated in paragraph 3(i) 2 and

(iii) unless he or she shall have first read this order and shall have agreed, by letter filed with the

Secretary of this Commission: (i) to be bound by the terms thereof; (ii) not to reveal such

confidential business information to anyone other than another person designated in paragraph 3;

and (iii) to utilize such confidential business information solely for purposes of this investigation.

The letter shall also include the following acknowledgement:

        I, the undersigned, on behalf of _____, acknowledge that information submitted
        for purposes of this Investigation may be disclosed to and used:

        (i) by the Commission, its employees and Offices, and contract personnel (a) for
        developing or maintaining the records of this or a related proceeding, or (b) in

1
 See Commission Administrative Order 16-01 (Nov. 7, 2015).
2
 Necessary secretarial and support personnel assisting counsel need not sign onto the protective order themselves
because they are covered by counsel’s signing onto the protective order.
                                                      -3-
            Case: 24-1285        Document: 30        Page: 29     Filed: 01/15/2024




       internal investigations, audits, reviews, and evaluations relating to the programs,
       personnel, and operations of the Commission including under 5 U.S.C. Appendix
       3; or
       (ii) by U.S. government employees and contract personnel, solely for
       cybersecurity purposes. I understand that all contract personnel will sign
       appropriate nondisclosure agreements.

       5. If the Commission or the Administrative Law Judge orders, or if the supplier and all

parties to the investigation agree, that access to, or dissemination of information submitted as

confidential business information shall be made to persons not included in paragraph 3 above,

such matter shall only be accessible to, or disseminated to, such persons based upon the

conditions pertaining to, and obligations arising from this order, and such persons shall be

considered subject to it, unless the Commission or the Administrative Law Judge finds that the

information is not confidential business information as defined in paragraph 1 thereof.

       6.   (a). Any confidential business information submitted to the Commission or the

Administrative Law Judge in connection with a motion or other proceeding within the purview

of this investigation shall be submitted under seal pursuant to paragraph 2 above. Any portion of

a transcript in connection with this investigation containing any confidential business

information submitted pursuant to paragraph 2 above shall be bound separately and filed under

seal. When any confidential business information submitted in accordance with paragraph 2

above is included in an authorized transcript of a deposition or exhibits thereto, arrangements

shall be made with the court reporter taking the deposition to bind such confidential portions and

separately label them “CONFIDENTIAL BUSINESS INFORMATION, SUBJECT TO

PROTECTIVE ORDER.” Before a court reporter or translator receives any such information, he

or she shall have first read this order and shall have agreed in writing to be bound by the terms

thereof. Alternatively, he or she shall sign the agreement included as Attachment A hereto.

                                               -4-
               Case: 24-1285           Document: 30          Page: 30        Filed: 01/15/2024




Copies of each such signed agreement shall be provided to the supplier of such confidential

business information and the Secretary of the Commission.

        (b).     Submitters 3 are strongly encouraged to encrypt nonpublic documents that are

electronically transmitted to the Commission to protect your sensitive information from

unauthorized disclosure. The USITC secure drop-box system and the Electronic Document

Information System (EDIS) use Federal Information Processing Standards (FIPS) 140-2

cryptographic algorithms to encrypt data in transit. Submitting your nonpublic documents by a

means that does not use these encryption algorithms (such as by email) may subject your firm’s

nonpublic information to unauthorized disclosure during transmission. If you choose a non-

encrypted method of electronic transmission, the Commission warns you that the risk of such

possible unauthorized disclosure is assumed by you and not by the Commission.

        7. The restrictions upon, and obligations accruing to, persons who become subject to this

order shall not apply to any information submitted in accordance with paragraph 2 above to

which the person asserting the confidential status thereof agrees in writing, or the Commission or

the Administrative Law Judge rules, after an opportunity for hearing, was publicly known at the

time it was supplied to the receiving party or has since become publicly known through no fault

of the receiving party.

        8. The Commission, the Administrative Law Judge, and the Commission investigative

attorney acknowledge that any document or information submitted as confidential business

information pursuant to paragraph 2 above is to be treated as such within the meaning of 5

U.S.C. § 552(b)(4) and 18 U.S.C. § 1905, subject to a contrary ruling, after hearing, by the


3
 “Submitters” of confidential business information are the same as “suppliers” of confidential business information
as that term is used in the context of this order. See Commission Administrative Order 16-01 (Nov. 7, 2015).
                                                       -5-
             Case: 24-1285       Document: 30         Page: 31     Filed: 01/15/2024




Commission or its Freedom of Information Act Officer, or the Administrative Law Judge. When

such information is made part of a pleading or is offered into the evidentiary record, the data set

forth in 19 C.F.R. § 201.6 must be provided except during the time that the proceeding is

pending before the Administrative Law Judge.           During that time, the party offering the

confidential business information must, upon request, provide a statement as to the claimed basis

for its confidentiality.

        9. Unless a designation of confidentiality has been withdrawn, or a determination has

been made by the Commission or the Administrative Law Judge that information designated as

confidential, is no longer confidential, the Commission, the Administrative Law Judge, and the

Commission investigative attorney shall take all necessary and proper steps to preserve the

confidentiality of, and to protect each supplier's rights with respect to, any confidential business

information designated by the supplier in accordance with paragraph 2 above, including, without

limitation: (a) notifying the supplier promptly of (i) any inquiry or request by anyone for the

substance of or access to such confidential business information, other than those authorized

pursuant to this order, under the Freedom of Information Act, as amended (5 U.S.C. § 552) and

(ii) any proposal to redesignate or make public any such confidential business information; and

(b) providing the supplier at least seven days after receipt of such inquiry or request within which

to take action before the Commission, its Freedom of Information Act Officer, or the

Administrative Law Judge, or otherwise to preserve the confidentiality of and to protect its rights

in, and to, such confidential business information.

        10. If while an investigation is before the Administrative Law Judge, a party to this order

who is to be a recipient of any business information designated as confidential and submitted in

accordance with paragraph 2 disagrees with respect to such a designation, in full or in part, it
                                            -6-
             Case: 24-1285        Document: 30        Page: 32      Filed: 01/15/2024




shall notify the supplier in writing, and they will thereupon confer as to the status of the subject

information proffered within the context of this order. If prior to, or at the time of such a

conference, the supplier withdraws its designation of such information as being subject to this

order, but nonetheless submits such information for purposes of the investigation; such supplier

shall express the withdrawal, in writing, and serve such withdrawal upon all parties and the

Administrative Law Judge. If the recipient and supplier are unable to concur upon the status of

the subject information submitted as confidential business information within ten days from the

date of notification of such disagreement, any party to this order may raise the issue of the

designation of such a status to the Administrative Law Judge who will rule upon the matter. The

Administrative Law Judge may sua sponte question the designation of the confidential status of

any information and, after opportunity for hearing, may remove the confidentiality designation.

       11. No less than 10 days (or any other period of time designated by the Administrative

Law Judge) prior to the initial disclosure to a proposed expert of any confidential information

submitted in accordance with paragraph 2, the party proposing to use such expert shall submit in

writing the name of such proposed expert and his or her educational and detailed employment

history to the supplier. If the supplier objects to the disclosure of such confidential business

information to such proposed expert as inconsistent with the language or intent of this order or

on other grounds, it shall notify the recipient in writing of its objection and the grounds therefore

prior to the initial disclosure. If the dispute is not resolved on an informal basis within ten days

of receipt of such notice of objections, the supplier shall submit immediately each objection to

the Administrative Law Judge for a ruling. If the investigation is before the Commission the

matter shall be submitted to the Commission for resolution. The submission of such confidential

business information to such proposed expert shall be withheld pending the ruling of the
                                         -7-
            Case: 24-1285        Document: 30       Page: 33      Filed: 01/15/2024




Commission or the Administrative Law Judge. The terms of this paragraph shall be inapplicable

to experts within the Commission or to experts from other governmental agencies who are

consulted with or used by the Commission.

       12. If confidential business information submitted in accordance with paragraph 2 is

disclosed to any person other than in the manner authorized by this protective order, the party

responsible for the disclosure must immediately bring all pertinent facts relating to such

disclosure to the attention of the supplier and the Administrative Law Judge and, without

prejudice to other rights and remedies of the supplier, make every effort to prevent further

disclosure by it or by the person who was the recipient of such information.

       13. Nothing in this order shall abridge the right of any person to seek judicial review or

to pursue other appropriate judicial action with respect to any ruling made by the Commission,

its Freedom of Information Act Officer, or the Administrative Law Judge concerning the issue of

the status of confidential business information.

       14. Upon final termination of this investigation, each recipient of confidential business

information that is subject to this order shall assemble and return to the supplier all items

containing such information submitted in accordance with paragraph 2 above, including all

copies of such matter which may have been made. Alternatively, the parties subject to this order

may, with the written consent of the supplier, destroy all items containing confidential business

information and certify to the supplier (or his counsel) that such destruction has taken place.

This paragraph shall not apply to the Commission, including its investigative attorney, and the

Administrative Law Judge, which shall retain such material pursuant to statutory requirements

and for other recordkeeping purposes, but may destroy such material (including electronic media

containing such information) in its possession which it regards as surplusage.
                                               -8-
             Case: 24-1285        Document: 30        Page: 34      Filed: 01/15/2024




       Notwithstanding the above paragraph, confidential business information may be

transmitted to a district court pursuant to Commission Rule 210.5(c).

       15.   If any confidential business information which is supplied in accordance with

paragraph 2 above is supplied by a nonparty to this investigation, such a nonparty shall be

considered a "supplier" as that term is used in the context of this order.

       16. Each nonparty supplier shall be provided a copy of this order by the party seeking

information from said supplier.

       17. The Secretary shall serve a copy of this order upon all parties.




                                                -9-
             Case: 24-1285            Document: 30        Page: 35   Filed: 01/15/2024




                                            Attachment A

NONDISCLOSURE AGREEMENT FOR REPORTER/STENOGRAPHER/TRANSLATOR

        I, ___________________________, do solemnly swear or affirm that I will not divulge

any information communicated to me in any confidential portion of the investigation or hearing
                    &(57$,1/,*+7%$6('3+<6,2/2*,&$/0($685(0(17'(9,&(6$1'&20321(1767+(5(2)

in the matter of Certain_______, Investigation No. 337-TA-___,
                                                            except as permitted in the


protective order issued in this case. I will not directly or indirectly use, or allow the use of such

information for any purpose other than that directly associated with my official duties in this

case.

        Further, I will not by direct action, discussion, recommendation, or suggestion to any

person reveal the nature or content of any information communicated during any confidential

portion of the investigation or hearing in this case.

        I also affirm that I do not hold any position or official relationship with any of the

participants in said investigation.

        I am aware that the unauthorized use or conveyance of information as specified above is

a violation of the Federal Criminal Code and punishable by a fine of up to $10,000,

imprisonment of up to ten (10) years, or both.

Signed __________________________________________________________________

Dated ___________________________________________________________________

Firm or affiliation _________________________________________________________




                                                 - 10 -
            Case: 24-1285         Document: 30    Page: 36     Filed: 01/15/2024

CERTAIN LIGHT-BASED PHYSIOLOGICAL                                       Inv. No. 337-TA-1276
MEASUREMENT DEVICES AND COMPONENTS
THEREOF

Certificate of Service – Page 1
                           PUBLIC CERTIFICATE OF SERVICE

       I, Lisa R. Barton, hereby certify that the attached ORDER has been served upon the
following parties as indicated, on August 18, 2021.




                                                  Lisa R. Barton, Secretary
                                                  U.S. International Trade Commission
                                                  500 E Street, SW, Room 112
                                                  Washington, DC 20436

On Behalf of Complainants Masimo Corporation and
Cercacor Laboratories, Inc.:

Jonathan Bachand, Esq.                                           ‫ ܆‬Via Hand Delivery
KNOBBE, MARTENS, OLSON & BEAR, LLP                               ‫ ܆‬Via Express Delivery
1717 Pennsylvania Avenue, NW, Suite 900                          ‫ ܆‬Via First Class Mail
Washington, DC 20006
                                                                 ‫ ܈‬Other: Email Notification
Email: Jonathan.Bachand@knobbe.com
                                                                 of Availability for Download

Respondent:

Apple Inc.                                                       ‫ ܆‬Via Hand Delivery
One Apple Park Way                                               ‫ ܆‬Via Express Delivery
Cupertino, CA 95014                                              ‫ ܆‬Via First Class Mail
                                                                 ‫ ܈‬Other: Service to Be
                                                                 Completed by Complainants
Case: 24-1285   Document: 30   Page: 37   Filed: 01/15/2024




         (;+,%,7




                      Reply-Add-1
      Case: 24-1285   Document: 30   Page: 38    Filed: 01/15/2024




          UNITED STATES INTERNATIONAL TRADE COMMISSION
                      WASHINGTON, D.C.


In the Matter of
CERTAIN LIGHT-BASED
PHYSIOLOGICAL MEASUREMENT                       Investigation No. 337-TA-1276
DEVICES AND COMPONENTS
THEREOF



                    STATEMENT OF NON-PARTY
                  AMERICAN HEART ASSOCIATION
 ON THE PUBLIC INTEREST OF THE RECOMMENDED REMEDIAL ORDERS
                BUT NOT IN SUPPORT OF ANY PARTY




                            Reply-Add-2
             Case: 24-1285        Document: 30        Page: 39      Filed: 01/15/2024


I.     INTRODUCTION

       The American Heart Association, Inc. (the “AHA”) believes the ALJ’s recommended

remedial orders would harm scientific research, healthcare consumers, and healthcare providers in

the U.S. Accordingly, the AHA urges the Commission to tailor any remedial orders to allow

researchers adequate time to complete ongoing research projects and transition to new protocols

with devices not subject to any limited exclusion order (“LEO”) or cease and desist order (“CDO”).

II.    AHA’S INTEREST IN THE RECOMMENDED REMEDIAL ORDERS
       As the nation’s oldest and largest voluntary health organization, the AHA strives to be a

relentless force for a world of longer, healthier lives with a particular emphasis on a broad-range

of cardiovascular and stroke-related health topics. Working at the intersection of science and

technology is the AHA’s Center for Health Technology and Innovation (“CHTI”), which

encourages the use of digital health solutions to lower healthcare costs, increase patient

engagement and improve healthcare outcomes for patients and consumers. The AHA and the

CHTI fund vital scientific research, bringing together research institutions, technology and digital

health companies in research programs seeking new applications of technology to improve overall

consumer well-being and to provide affordable preventive, diagnostic and treatment measures.

       The AHA has a research relationship with the Respondent in the Investigation. It has no

position on the merits of the investigation and supports none of the private parties. However, we

are concerned about the direct, harmful, near-term impact that the recommended LEO and CDO

would have on healthcare consumers, healthcare providers and scientific researchers in the U.S.

       We understand the ALJ’s recommends an LEO with a standard certification provision and

a CDO with respect to Apple Watch Series 6, 7, and certain prototype products referred to as Next

Generation (“Devices”). The Devices play a unique role in research of interest to the AHA and

healthcare consumers. As prevalent consumer devices owned for reasons other than just their

cardiac-data-related technologies, the user population is sufficiently large and representative of the

                                                  1


                                            Reply-Add-3
             Case: 24-1285         Document: 30         Page: 40       Filed: 01/15/2024


subjects researchers seek to recruit, that they allow studies to be fully enrolled cost-effectively,

facilitating research the AHA promotes. Additionally, the Devices and their users allow for types

of research to occur that might not otherwise be attempted, or only attempted less frequently or

with smaller sample sizes. Notably, they facilitate research into whether cardiac health outcomes

can be improved by consumer devices detecting and triggering interventions. As the novelty of

these devices has waned since their introduction, researchers benefit from and, to some extent, rely

on the extent of consumer adoption of the Devices to design and recruit for research studies.

III. THE   RECOMMENDED      REMEDIAL      ORDERS                                        JEOPARDIZE
CARDIOVASCULAR AND OTHER SCIENTIFIC RESEARCH

        The AHA encourages the development and proliferation of reliable consumer healthcare

devices that assist patients and healthcare consumers in better understanding and managing their

own health and well-being, in communicating with their healthcare providers, and participating in

valuable and decentralized health research. Our aim is to build new types of healthcare insights to

improve our understanding of how technology-based devices and solutions can best impact care.

        A.    The Devices Provide Important Data Acquisition and Reporting Technology
        For Basic Scientific Research by Numerous Researchers
        The AHA is currently collaborating on two research studies involving Apple Watches, one

is a Vanderbilt University study related to Atrial Fibrillation (“AF”) 1 and the other a Johns

Hopkins University study related to Coronary Artery Disease and cardiac rehabilitation.2 These

studies utilize data obtained from study participants while wearing Apple Watches, including the

Devices. Other institutions are involved in similar research. Data available from the website

ClinicalTrials.gov indicates there are several U.S. clinical trials that are currently active, recruiting,



1
  See https://clinicaltrials.gov/ct2/show/NCT04433091?term=%22Apple+Watch%22+AND+%
28%22series%22+OR+%22ECG%22%29&recrs=abdf&map_cntry=US&draw=2&rank=8.
2
  See https://clinicaltrials.gov/ct2/show/NCT05238103?term=%22Apple+Watch%22&recrs=
abdf&cntry=US&draw=4&rank=30.
                                                2


                                             Reply-Add-4
            Case: 24-1285        Document: 30        Page: 41      Filed: 01/15/2024


or planned involving various Apple Watch Series, including the Devices.3 These include ECG

studies by Yale University4 and the Mayo Clinic;5 a hypertension study by Stanford University;6

an AF study by the University of Oklahoma; 7 and two heart failure studies by Biofourmis

Singapore Pte Ltd.8 and by Tufts Medical Center.9 The AHA believes these studies utilize Device

features other than the pulse oximetry feature at issue in the investigation; however, the ALJ’s

recommended remedial orders would nonetheless impact usage of the Devices in these studies.

       The Devices provide a combination of clinically-interesting technological features and

ongoing consumer prevalence in a single wearable that makes them a very attractive research

platform. Additionally, an aim of some of that research is to investigate if consumer health can be

improved via data from a consumer-worn device, such as the Devices, prompting interventions

through the device or otherwise. The AHA is not aware of alternative devices available in volume

in the U.S. that provide the same combination of attributes to researchers and consumers.

       B.     Requiring Researchers to Change Devices Would Jeopardize the Scientific
       Merit of Ongoing and Past Research and Waste Investments Made
       Clinical and other scientific research requires months or years of planning, including design

of research protocols and study objectives, interaction with governing bodies and collaborators,



3
  See https://clinicaltrials.gov/ct2/results?cond=&term=%22Apple+Watch%22&cntry=US&state
=&city=&dist=&Search=Search&recrs=a&recrs=b&recrs=d&recrs=f (last visited 2/21/2023).
4
  See https://clinicaltrials.gov/ct2/show/NCT04468321?term=%22Apple+Watch%22+AND+%
28%22Series%22+or+%22atrial%22%29&recrs=abdf&draw=2&rank=4.
5
  See https://clinicaltrials.gov/ct2/show/NCT05324566?term=%22Apple+Watch%22+AND+
%28%22series%22+OR+%22ECG%22%29&recrs=abdf&map_cntry=US&draw=2&rank=1.
6
  See https://clinicaltrials.gov/ct2/show/NCT03893500?term=%22Apple+Watch
%22&recrs=abdf&cntry=US&draw=3&rank=12.
7
  See https://clinicaltrials.gov/ct2/show/NCT05172765?term=%22Apple+Watch%22
&recrs=abdf&cntry=US&draw=4&rank=28.
8
  See https://clinicaltrials.gov/ct2/show/NCT04191356?term=%22Apple+Watch%22
&recrs=abdf&cntry=US&draw=5&rank=38.
9
  See https://clinicaltrials.gov/ct2/show/NCT04510779?term=%22Apple+Watch%22
&recrs=abdf&cntry=US&draw=2&rank=2.
                                                  3


                                          Reply-Add-5
            Case: 24-1285        Document: 30        Page: 42      Filed: 01/15/2024


enrolling subjects, and procuring necessary materials. Significant investment of time, money, and

other resources have been made in the research involving the Devices in which the AHA has been

involved, and we believe in other research.

       For ongoing studies that are recruiting or those that have already been designed involving

the Devices, the recommended remedial orders could jeopardize their scientific merit and cause

waste of resources spent for the studies. Of course, the design of research protocols seeks to

control for extraneous influences. If Apple Watch data in ongoing research could no longer be

obtained because new participants had to use different devices as a result of the LEO or CDO, then

questions about comparability of data before and after the device change likely would arise, if it

were even possible to continue the study. This risks loss of some or all of the statistical power of

gathered data and resulting scientific merit of the study. Studies planned for extended periods (the

Vanderbilt study, for example, lists a 4 year time frame through May 2024) will likely be

negatively impacted by a remedial order requiring switching mid-study to a new device. Similarly,

for studies that have been designed, funded, and are recruiting now, or nearly so, switching devices

risks requiring re-design of the study and waste of resources expended to date.

IV.  THE COMMISSION SHOULD TAILOR ANY REMEDIAL ORDERS TO ALLOW
FOR ONGOING RESEARCH AND CONSUMER ACCESS

       The AHA believes that public interest is best served by keeping any current products on

the market that contain electrocardiogram, heart rate monitoring, irregular heart rate notification

and supporting features combined in some form. The devices currently on the market with verified

accuracy are important to consumers, healthcare providers and researchers involved in assessing

the impact of those devices to improve patient understanding, health, and outcomes.

       From the AHA’s perspective, the Devices are not just a pure technical component used in

clinical research. Part of their interest is that they are widely used consumer devices that provide

technologies enabling collection and reporting of data of clinical interest. The prevalence of these
                                                 4


                                           Reply-Add-6
             Case: 24-1285        Document: 30        Page: 43      Filed: 01/15/2024


devices among consumers not only helps provide research recruits but also helps investigate if a

mass consumer device can be used to intervene to improve health outcomes by acquiring data used

to (help) detect them. The AHA does not believe that adopting remedial orders requiring

certifications by researchers for devices sought to be imported would adequately protect the

interests with which it is concerned. See Commission Opinion (Revised) in Certain Microfluidic

Devices, Inv. 337-TA-1068, at 22–48 (January 10, 2020). As explained above, part of the

significance of the Devices is that they are a prevalent consumer device, not just a technical input

used by researchers. A standard certification provision included in any LEO issued requiring

researchers to indicate that certain Apple Watches sought to be imported were destined for a

particular study or trial by certification would not reflect how those devices are used in the type of

research the AHA promotes and wishes to see continue and would place a burden on the

researchers to undertake the necessary analysis to determine if the certification is proper, further

negatively impacting the ability to continue with on-going and already planned research.

       For the reasons explained above, the AHA urges the Commission to tailor any remedial

orders to ensure the supply of the Devices in the U.S. remain undisturbed over a sufficient time

period for ongoing research to be completed and for upcoming research to transition to alternative

devices that it expects would be brought to market without significant waste of resources on that

research or significant delay in undertaking future research. The AHA believes the time period

necessary for that transition to be a year or more.

       If it would be helpful to the Commission, the AHA would be happy to provide additional

details or information regarding the comments made above.

Date: March 1, 2023                            Respectfully submitted,


                                               /s/ Patrick Wayte
                                               American Heart Association, Inc.
                                               Center for Health Technology and Innovation

                                                  5


                                            Reply-Add-7
          Case: 24-1285   Document: 30    Page: 44       Filed: 01/15/2024


By and though counsel:

                                   /s/ Robin L. Barnes
                                   Robin L. Barnes

                                   SCHEEF & STONE, LLP
                                   2600 Network Blvd., Suite 400
                                   Frisco, Texas 75034
                                   (214) 706-4233 Telephone
                                   (214) 706-4242 Facsimile
                                   robin.barnes@solidcounsel.com




                                      6


                                Reply-Add-8
            Case: 24-1285        Document: 30       Page: 45      Filed: 01/15/2024


              In the Matter of Certain Light-Based Physiological Measurement
                              Devices and Components Thereof

                                     Inv. No. 337-TA-1276

                                CERTIFICATE OF SERVICE

        I, Nicole Isenhart, hereby certify that true and correct copies of the foregoing, Statement
of Non-Party American Heart Association on the Public Interest of the Recommended Remedial
Orders But Not in Support of Any Party, have been filed and served on this 1st day of March 2023,
on the following in the manner indicated:


  Secretary – U.S. International Trade Commission
  The Honorable Katherine M. Hiner Acting         ; Via Electronic Filing [EDIS]
  Secretary to the Commission                      Via Hand Delivery (2 Copies)
  U.S. International Trade Commission 500          Via Overnight Delivery
  E Street, SW, Room 112 Washington, DC
  20436
  Administrative Law Judge – U.S. International Trade Commission
  The Honorable Monica Bhattacharyya                 Via Hand Delivery (2 Copies)
  U.S. International Trade Commission                Via Overnight Delivery
  500 E Street, S.W., Room 317                       Via Facsimile
  Washington, D.C. 20436
                                                    ; Via Electronic Mail to
                                                    edward.jou@usitc.gov;
                                                    Bhattacharyya337@usitc.gov
  Counsel for Claimants Masimo Corporation and Cercacor Laboratories, Inc.
  Stephen C. Jensen                               Via Hand Delivery (2 Copies)
  Joseph R. Re                                    Via Overnight Delivery
  Sheila N. Swaroop                               Via Facsimile
  Ted. M. Cannon
                                                 ; Via Electronic Mail to
  Alan G. Laquer
  Kendall M. Loebbaka                            masimo.appleitc@knobbe.com
  KNOBBE, MARTENS, OLSON & BEAR, LLP
  2040 Main Street
  Fourteenth Floor
  Irvine, CA 92614

  William R. Zimmerman
  Jonathan E. Bachand
  KNOBBE, MARTENS, OLSON & BEAR, LLP
  1717 Pennsylvania Avenue N.W., Suite 900
  Washington, DC 20006

  Brian C. Horne
  KNOBBE, MARTENS, OLSON & BEAR, LLP
                                                7


                                          Reply-Add-9
          Case: 24-1285     Document: 30       Page: 46     Filed: 01/15/2024


 1925 Century Park East
 Suite 600
 Los Angeles, CA 90067



 Counsel for Respondent Apple, Inc.
 Michael Esch David                                   Via Hand Delivery (2 Copies)
 Cavanaugh                                            Via Overnight Delivery
 WILMER CUTLER PICKERING HALE AND                     Via Facsimile
 DORR LLP
                                                     ; Via Electronic Mail to WHApple-
 2100 Pennsylvania Avenue, NW
 Washington, DC 20037                                Masimo1276ServiceList@wilmerhale.
                                                     com
 Mark Selwyn
 WILMER CUTLER PICKERING HALE AND
 DORR LLP
 2600 El Camino Real Suite
 400
 Palo Alto, California 94306

 Joseph Mueller Richard
 Goldenberg Sarah Frazier
 WILMER CUTLER PICKERING HALE AND
 DORR LLP
 60 State Street
 Boston, Massachusetts 02109


March 1, 2023                                          /s/ Nicole Isenhart
                                                       Nicole Isenhart
                                                       Paralegal




                                           8


                                      Reply-Add-10
Case: 24-1285   Document: 30   Page: 47   Filed: 01/15/2024




        (;+,%,7




                      Reply-Add-11
          Case: 24-1285   Document: 30    Page: 48      Filed: 01/15/2024




            UNITED STATES INTERNATIONAL TRADE COMMISSION
                            WASHINGTON, D.C.



                   Before the Honorable Monica Bhattacharyya
                            Administrative Law Judge



In the Matter of

CERTAIN LIGHT-BASED                             Inv. No. 337-TA-1276
PHYSIOLOGICAL MEASUREMENT
DEVICES AND COMPONENTS
THEREOF




                                 Reply-Add-12
                  Case: 24-1285      Document: 30             Page: 49   Filed: 01/15/2024




                              DECLARATION OF DR. RICHARD MILANI

         1.        My name is Dr. Richard Milani. I am over 21 years of age, of sound mind, and make this

declaration voluntarily and based upon my own personal knowledge.

         2.        I received my M.D. from the University of Florida in 1979. I completed a residency in

Internal Medicine at the University of Florida. I then completed fellowships in Critical Care Medicine at

the University of Florida, Preventive Medicine and Clinical Epidemiology at Harvard University

(Massachusetts General Hospital), and Cardiovascular Diseases at Ochsner Clinic Foundation.

         3.        I am the Chief Clinical Transformation Officer and Vice Chairman of the Department of

Cardiology at Ochsner Health System (“Ochsner Health”). Ochsner Health is an integrated healthcare

system with a mission to serve, heal, lead, educate, and innovate. It has more than 34,000 employees, and

over 4,500 employed and affiliated physicians in over 90 medical specialties and subspecialties. Ochsner

Health operates 40 hospitals and more than 300 health and urgent care centers across Louisiana, Mississippi

and the Gulf South, and also serves many patients around the country and world through its digital medicine

program. In 2021, Ochsner Health treated more than 1 million people from every state and 75 countries.

         4.        Since 2012, I have held the role of Chief Clinical Transformation Officer.          My

responsibilities include developing new methods of healthcare delivery that improve the health of the

populations we serve, improve access to care, reduce the cost of care, and reduce the burden on the

caregivers of care. To accomplish our goals, we take advantage of new leading edge capabilities that

involve both technology as well as artificial intelligence.

         5.        I understand that Masimo has sued Apple for patent infringement, and that Masimo is

seeking to exclude from importation into the United States several generations of Apple Watch that include

the Irregular Rhythm Notification (“IRN”), electrocardiogram (“ECG”) App, High Heart Rate Notification

(“HHRN”) and Blood Oxygen Sensor (SPO2) functionality.

         6.        As detailed below, excluding Apple Watch with these features would have major negative

implications on public health in this country by greatly hindering patient care and/or medical research in

critical areas.

                                                      1


                                               Reply-Add-13
              Case: 24-1285         Document: 30          Page: 50       Filed: 01/15/2024




        7.      The leading cause of death in the United States is chronic disease, ranging from diabetes,

to heart disease, to high blood pressure, to Alzheimer’s disease. More than 50% of adults in the United

States have a chronic disease.1

        8.      About 697,000 people died in the United States from heart disease in 2020; that’s 1 in 5

deaths.2 Heart disease costs the United states about $229 billion each year.3

        9.      Atrial Fibrillation (“AFib”) is the most common type of cardiac arrhythmia. It is often

asymptomatic until a major health event occurs, such as a stroke. This is why it is highly valuable to a

patient’s care to have the ability to track a patient’s heart rhythms continuously to check for abnormal

rhythms and report such activity to a doctor before a patient experiences a life-threatening medical event

such as a stroke. In 2019, AFib was mentioned in more than 183,000 death certificates, and was the

underlying cause of death for at least 26,500 people in the United States.4

        10.     Historically, a key challenge for physicians when it comes to treating chronic disease has

been a lack of timely and consistent data about the patient’s health. Patients often are only seen by a

physician a few times per year, and may also only have diagnostic testing associated with their chronic

disease performed during those in-person visits. While these appointments and periodic testing provide a

useful snapshot about a patient’s health, they do not account for medical changes that may be occurring on

a monthly, weekly, or daily basis. This applies to heart disease and AFib as well.

        11.     In 2014, Apple launched HealthKit. HealthKit is a HIPAA-compliant central repository of

health and fitness data on Apple Watch. With a user’s permission, apps can communicate with HealthKit

to access and share this data. Since 2014, HealthKit has been integrated with Epic Systems, a leading

provider of electronic medical records in the United States. This integration means that, with a patient’s



1
  About Chronic Diseases | CDC available at
https://www.cdc.gov/chronicdisease/about/index.htm#:~:text=Chronic%20diseases%20such%20as%20he
art,disability%20in%20the%20United%20States .
2 Heart Disease Facts | cdc.gov available at
https://www.cdc.gov/heartdisease/facts.htm#:~:text=Heart%20disease%20is%20the%20leadi .
3
  Id.
4
  https://www.cdc.gov/heartdisease/atrial_fibrillation.htm

                                                     2


                                              Reply-Add-14
              Case: 24-1285           Document: 30         Page: 51       Filed: 01/15/2024




permission, health data collected through Apple Watch can be transmitted directly to a patient’s electronic

medical record and accessible to their physician.

        12.        Since the launch of HealthKit, Apple has continued to expand the health features that its

products track, while software developers have built apps to take advantage of this functionality. These

advancements have major benefits when it comes to preventive care because they allow physicians to gather

substantially more data about the health of their patients. They also allow physicians to more quickly detect

changes in a patient’s heath, which can lead to earlier detection or deterioration of disease or illness, and

can also provide an opportunity for physicians to help prevent catastrophic health events from occurring.

This has benefits most importantly for patients, and also reduces the need for hospitalization further

reducing healthcare costs. This has included collecting information from patients who have suffered

episodes consistent with AFib. At Ochsner Health, we have built healthcare programs around HealthKit to

take advantage of this Apple technology. This has led to substantial improvements in blood pressure and

diabetes control for thousands of our patients, as well as earlier diagnosis of patients who have AFib from

the IRN feature.

        13.        Indeed, recently, Apple announced a new feature that tracks AFib burden. Ochsner Health

is building a management program around this Apple technology, called AFib History, which will give

physicians weekly reports about the percentage of time a patient has spent in AFib (termed the “AFib

burden”) based on data collected from Apple Watch. We expect this to be a program that saves many lives,

including by preventing strokes.

        14.        I am not aware of any comparable wearable product capable of tracking AFib burden. The

standard way of monitoring patients with AFib today involves performing EKGs when necessary (which

requires a trip to the doctor), sending patients home with a recording device (Holter monitor or single-lead

ECG patch) that can be worn for short periods of time (i.e., 24 hours) to monitor and record cardiac activity,

or implanting a medical device into a patient’s chest through a medical procedure that will record cardiac

activity. We expect that the ability to track a patient’s cardiac activity daily, by simply having the patient

wear an Apple Watch, will revolutionize the way we treat this disease and save many lives.

                                                      3


                                               Reply-Add-15
                Case: 24-1285         Document: 30        Page: 52       Filed: 01/15/2024




          15.     To date, Ochsner has invested approximately $600,000 into building its AFib Management

program. This involves a team of cardiologists, advanced practice providers, Epic software developers and

engineers as well as app developers.

          16.     Another area where Apple’s products have allowed for significant preventive medical

advancements concerns falling. For those aged 65 and older, falling is a major health concern. Within this

population, more than one in four people falls each year, and more than 3 million people are treated in

emergency rooms for injuries related to their falls. In 2015, the total medical cost related to falls totaled

more than $50 billion.5

          17.     In 2021, Ochsner Health launched a pilot program related to fall prevention and

management called “Connected Stability”. This program relies on Apple Watch and iPhone, and has been

a huge success among the approximately 350 patients who participated. The program uses fall detection

on Apple Watch to detect when a patient falls. Specifically, Apple Watch can detect if a patient falls, and

then offers users a chance to indicate through Apple Watch whether they are okay or if there is an

emergency. If Apple Watch cannot detect any movement from the user within about one minute of the fall,

it will automatically contact emergency services. In addition to this existing functionality, Ochsner has

developed its own program through which a healthcare professional from Ochsner will contact a patient for

whom Apple Watch has detected a fall to find out if they need any medical assistance (particularly for

patients who have fallen but do not believe they need to go to the hospital).

          18.     For patients that have participated in the pilot program, we have been able to reduce falls

by approximately 50%. We have also received incredible feedback from patients about the program.

Patients report a tremendous improvement to their quality of life. They report that they are much less

worried about falling, and also feel comfort in knowing that they will be able to receive medical assistance

quickly if they do fall. We have also found that the 65 and older population is more inclined to wear an

Apple Watch consistently than other types of personal emergency response systems (such as existing



5
    https://www.cdc.gov/falls/facts.html.

                                                      4


                                               Reply-Add-16
                 Case: 24-1285       Document: 30         Page: 53       Filed: 01/15/2024




products where the patient essentially wears an emergency button around their neck). This is because Apple

Watch is relatively discrete and is a commonly used product, and it is something that they are not

embarrassed to wear. Rather, they are excited to wear an Apple Watch and take advantage of its other

functionality.

         19.      Ochsner has invested approximately $3 million into its fall prevention pilot program. As

mentioned above, more than 350 patients have participated so far. Ochsner plans to roll out this program

nationally within the next year. Ochsner currently has more than 20 healthcare professionals working on

this program, and we expect those numbers to grow significantly as the program expands.

         20.      Another feature that would be adversely impacted by the proposed exclusion order is the

Apple Watch Blood Oxygen feature. Measuring a person’s blood oxygen saturation is an important health

and wellness metric, particularly in the midst of the COVID-19 pandemic. Taking this feature out of the

hands of consumers would negatively impact the public health and welfare.

         21.      I am aware that recent medical literature and the FDA has raised concerns about racial bias

in existing pulse oximeters. I understand that the disparity shown in the literature is, at least in part,

attributed to dark pigments in certain users’ skin. I understand that a white paper recently published by

Apple identifies steps that Apple took to address this problem when designing the blood oxygen feature.6

I also understand that in a small-scale study involving the Apple Watch, there were no reported disparities

in blood oxygen measurements between those with light and dark skin. Although these results are

promising, I believe more research is needed to confirm the findings and assess whether Apple’s blood

oxygen sensor can take accurate measurements from persons of color.

         22.      As the above examples demonstrate, Apple is a leading innovator when it comes to

healthcare technology. This technology is revolutionizing how we manage our patients. Preventing

importation of Apple Watch would be devastating to the progress that is being made every day in this space.




6
    https://www.apple.com/healthcare/docs/site/Blood_Oxygen_app_on_Apple_Watch_October_2022.pdf.

                                                      5


                                               Reply-Add-17
             Case: 24-1285           Document: 30    Page: 54      Filed: 01/15/2024




       I declare, under penalty of perjury, under the laws of the United States of America, that

the foregoing is true and correct.

       Executed on March 1, 2023 in New Orleans, LA.



                                              /s/ Dr. Richard Milani


                                              Dr. Richard Milani

                                              Chief Clinical Transformation Officer Ochsner
                                              Health System




                                                 6


                                           Reply-Add-18
Case: 24-1285   Document: 30   Page: 55   Filed: 01/15/2024




        (;+,%,7




                      Reply-Add-19
                Case: 24-1285          Document: 30            Page: 56         Filed: 01/15/2024
                                                                                               STEPHEN J. RUOSS, M.D
                                                                                                    Professor of Medicine
                                                                                                              Clinical Chief
                                                                 Division of Pulmonary, Allergy and Critical Care Medicine




February 21, 2023

U.S. International Trade Commission
500 E Street, S.W.
Washington, D.C. 20436

Re: Apple Watch with blood oxygen saturation monitoring feature

Members of the U.S. International Trade Commission,
I am writing to you as an academic pulmonary specialist physician as well as an elite athlete, in
reference to the action before you regarding the Apple Watch with blood oxygen saturation monitoring
feature. I am writing this letter to express my strong support for the blood oxygen saturation
monitoring feature of the Apple Watch. I am not supported by Apple, Inc., and have no conflicts of
interest regarding this subject or this letter to the Commission.
The oxygen saturation feature of the Apple Watch is a highly accurate device feature, with
performance characteristics fully comparable to medical device standards for oximeters.
The oximetry feature of the Apple Watch is an important and very useful component of the physiology
assessment capabilities of the Watch, which also include electrocardiogram (ECG) and irregular
rhythm notification (IFN) features. These coupled assessment tools allow the Watch user to have a
very sophisticated and useful composite view of their physiology, providing the benefit of highly
accurate, important, and immediate information for their use.
One of the primary benefits of the blood oxygen monitoring feature is its ability to alert users to
potential health issues. This feature can help users identify changes in their blood oxygen levels that
may indicate a respiratory or cardiac problem, allowing them to seek medical attention promptly.
Additionally, this feature may be particularly valuable for individuals who engage in high-altitude
activities or suffer from sleep apnea, as it can help them monitor their oxygen levels and adjust their
behavior accordingly.
Furthermore, I believe that the Apple Watch has a strong reputation for safety and effectiveness. Apple
is a company that has demonstrated a commitment to user privacy and data security, which is
especially important when it comes to health-related data. As a result, I have confidence that the blood
oxygen monitoring feature on the Apple Watch is safe, accurate, and reliable.
In conclusion, as a pulmonary physician as well as an elite endurance athlete, I feel that the blood
oxygen saturation monitoring feature of the Apple Watch is a highly valuable feature for Apple Watch
users, and I strongly support retaining it as a component of the physiology monitoring capabilities of
the Watch.
Sincerely,



Stephen Ruoss, MD


                            300 Pasteur Drive, Room G307A ▪ Stanford, California 94305-5236
                        Telephone: 650.723.6381 ▪ Fax: 650.725.5489 ▪ Email: ruoss@stanford.edu
                                                  Reply-Add-20
Case: 24-1285        Document: 30            Page: 57         Filed: 01/15/2024




          300 Pasteur Drive, Room G307A ▪ Stanford, California 94305-5236
      Telephone: 650.723.6381 ▪ Fax: 650.725.5489 ▪ Email: ruoss@stanford.edu
                                Reply-Add-21
Case: 24-1285   Document: 30   Page: 58   Filed: 01/15/2024




          (;+,%,7




                      Reply-Add-22
                    Case: 24-1285         Document: 30            Page: 59      Filed: 01/15/2024
                                                                                            '%%!!#)!$
                                                                                             %#"&$&  
                                                                                            "($#!#$#  
                                                                                            #)!$"!&#$
                                                                                              
                                                                                              
                                                                                            )))"&#"!)%#$
                                           
                                                         
                                            
                                                   
%#4:+84':/54'2$8'*+533/99/54
  #:8++:#&
&'9./4-:54  

"+#;6658:,58:.+662+&':).,58;9+/4:8')1/4-6.?9/525-/),+':;8+9/43+*/)'26':/+4:9

+'8+3(+895,:.+%#4:+84':/54'2$8'*+533/99/54

        '3=8/:/4-:59;6658:662+'4*:.+/8=+'8'(2+*+</)+662+&':).58:.+6'9: ?+'89.'<+
)54*;):+*3+*/)'28+9+'8).9:;*/+9/4<52</4-=+'8'(2+9+49589:.':3+'9;8+6.?9/525-/)6'8'3+:+89.+'8:
8':+6.?9/)'2'):/</:?5>?-+49':;8':/54'4*:+36+8':;8+/43+*/)'26':/+4:9&+.'<+6;(2/9.+*8+9;2:9/4
6++88+</+=+*3+*/)'205;84'29+-5=2+8"+:'2 6+4"+96"+9  + 
*5/      (308+96   '4*68+9+4:+*5;8,/4*/4-9':9)/+4:/,/)3++:/4-9+-:.+3+8/)'4
$.58')/)#5)/+:?&+.'<+;9+*(5:.3+*/)'28+9+'8).*+</)+9):/-8'6.'4*)549;3+8*+</)+9662+
&':)./:/:1+?,+':;8+5,)549;3+8*+</)+9/9:.+/8/4:+-8':/545,3;2:/62+9+49589'4*6'8:/);2'82?
5>?-+49':;8':/54#6 ,586':/+4:9=/:.8+96/8':58?*/9+'9+94:.+9+6':/+4:9,8535;88+9+'8).9:;*/+9
'4*6+8954'22?3?8+9+'8).-85;6.'9,5;4*:.+662+&':).:5(+'4+>)+6:/54'2*+</)+:.':'));8':+2?
3+'9;8+9/3658:'4:6'8'3+:+899;).'9.+'8:8':+6.?9/)'2'):/</:?'4*5>?-+49':;8':/545;62+*=/:.
354/:58/4-'669:.+9+6'8'3+:+89.+2668+*/)::.+549+:5,');:+/224+99$.+*+</)+9'8+'2959/-4/,/)'4:2?
2+99+>6+49/<+:.'48+9+'8).542?*+</)+9'4**+68/</4-)549;3+895,:.+*+</)+93/-.:;44+)+99'8/2?2/3/:
'))+99:58+35:+3+*/)'2354/:58/4-/4;4*+89+8<+*-85;69+-8;8'26':/+4:9=.5*545:.'<+8+'*?
'))+99:596+)/'2/9:9'3.'66?:5685</*+'**/:/54'2/4,583':/54:5:.+533/99/54;6548+7;+9:*545:
.'<+'4?)54,2/):5,/4:+8+9:5:.+8:.'43'4?5,:.+9+)536'4/+9.'<+685</*+*:.+9+*+</)+9':9;(9:'4:/'2
*/9)5;4:,588+9+'8).9:;*/+9



#/4)+8+2?





                                      
";99+225=2+8!.
/8+):585, !2/4/)'4*!8+)/9/54+*/)/4+
!85,+99585,+*/)/4+
/</9/545,!;2354'8?+*/)/4++6'8:3+4:5,+*/)/4+
':/54'2+=/9.+'2:.+4<+85258'*5
   ')1954#:8++:"553 '
+4<+85258'*5 
!.54+     
'>      

                                                             
                                                             
                                  
                                                    Reply-Add-23
Case: 24-1285   Document: 30   Page: 60   Filed: 01/15/2024




       (;+,%,7
                                Case: 24-1285               Document: 30             Page: 61           Filed: 01/15/2024


              Journal of
              Clinical Medicine

Article
Assessment of Non-Invasive Measurements of Oxygen
Saturation and Heart Rate with an Apple Smartwatch:
Comparison with a Standard Pulse Oximeter
Carmen Spaccarotella 1,† , Alberto Polimeni 2,† , Cinzia Mancuso 2 , Girolamo Pelaia 3 , Giovanni Esposito 1
and Ciro Indolﬁ 2,4, *

                                          1   Division of Cardiology, Department of Advanced Biomedical Science, Federico II University,
                                              80138 Naples, Italy; carmenspaccarotella@gmail.com (C.S.); espogiov@unina.it (G.E.)
                                          2   Center for Cardiovascular Research, Division of Cardiology, Department of Surgical and Medical Sciences,
                                              University Magna Graecia, 88100 Catanzaro, Italy; polimeni@unicz.it (A.P.); cinzia_mancuso@live.it (C.M.)
                                          3   Department of Health Sciences, University Magna Graecia, 88100 Catanzaro, Italy; pelaia@unicz.it
                                          4   Mediterranea Cardiocentro, 80138 Naples, Italy
                                          *   Correspondence: indolﬁ@unicz.it; Tel.: +39-0961-364-7668
                                          †   These authors contributed equally to this work.


                                          Abstract: The most commonly used method to assess peripheral oxygen saturation (SpO2 ) in clinical
                                          practice is pulse oximetry. The smartwatch Apple Watch 6 was developed with a new sensor and
                                          an app that allows taking on-demand readings of blood oxygen and background readings, day
                                          and night. The present study aimed to assess the feasibility and agreement of the Apple Watch
         
                                          6 compared with a standard SpO2 monitoring system to assess normal and pathological oxygen
                                   saturation. We recruited study participants with lung disease or cardiovascular disease and healthy
Citation: Spaccarotella, C.; Polimeni,    subjects. A total of 265 subjects were screened for enrolment in this study. We observed a strong
A.; Mancuso, C.; Pelaia, G.; Esposito,    positive correlation between the smartwatch and the standard commercial device in the evaluation of
G.; Indolﬁ, C. Assessment of              SpO2 measurements (r = 0.89, p < 0.0001) and HR measurements (r = 0.98, p < 0.0001). A very good
Non-Invasive Measurements of              concordance was found between SpO2 (bias, −0.2289; SD, 1.66; lower limit, −3.49; and upper limit,
Oxygen Saturation and Heart Rate
                                          3.04) and HR (bias, −0.1052; SD, 2.93; lower limit, −5.84; and upper limit, 5.63) measured by the
with an Apple Smartwatch:
                                          smartwatch in comparison with the standard commercial device using Bland–Altman analysis. We
Comparison with a Standard Pulse
                                          observed similar agreements and concordance even in the different subgroups. In conclusion, our
Oximeter. J. Clin. Med. 2022, 11, 1467.
https://doi.org/10.3390/
                                          study demonstrates that the wearable device used in the present study could be used to assess SpO2
jcm11061467                               in patients with cardiovascular or lung diseases and in healthy subjects.

Academic Editor: Laurent Fauchier
                                          Keywords: Apple Watch 6; COVID-19; SpO2
Received: 30 January 2022
Accepted: 3 March 2022
Published: 8 March 2022
                                          1. Introduction
Publisher’s Note: MDPI stays neutral
with regard to jurisdictional claims in        The most widely used method to assess peripheral oxygen saturation (SpO2 ) in clinical
published maps and institutional afﬁl-    practice is pulse oximetry. The major advantage of this method is that it is non-invasive
iations.                                  and has other beneﬁts such as ease of use so that it can be used for multiple out-of-hospital
                                          measurements [1]. For these reasons, pulse oximetry is also often used in patients with
                                          COVID-19 to monitor peripheral oxygen saturation frequently [2]. Standard pulse oxime-
                                          try measures the oxygen saturation in the blood by shining light at speciﬁc wavelengths
Copyright: © 2022 by the authors.         through tissue. Deoxygenated and oxygenated hemoglobin absorb light at different wave-
Licensee MDPI, Basel, Switzerland.        lengths (660 nm and 940 nm, respectively), and an algorithm processes the absorbed light
This article is an open access article    in the pulse oximeter to display a saturation value. The smartwatch Apple Watch 6 was
distributed under the terms and           developed with a new sensor and an app that allow taking on-demand readings of blood
conditions of the Creative Commons
                                          oxygen and background readings, day and night [3]. Smartwatches are widespread and
Attribution (CC BY) license (https://
                                          are increasingly being used for digital health information. For instance, the Apple Watch
creativecommons.org/licenses/by/
                                          can reliably detect atrial ﬁbrillation [4–6], and we previously showed the possibility of
4.0/).
                               Case: 24-1285       Document: 30         Page: 62        Filed: 01/15/2024


J. Clin. Med. 2022, 11, 1467                                                                                                2 of 7




                                    using this smartwatch to obtain multiple ECG leads [7] to detect ST-segment ECG changes.
                                    More recently, we and others demonstrated that it is possible to assess QTc measurements
                                    with the Apple Watch [8,9] and even Brugada syndrome ECG patterns [10]. Accordingly,
                                    the present study aimed to assess the feasibility and agreement of the Apple Watch 6
                                    compared with a standard SpO2 monitoring system to assess normal and pathological
                                    oxygen saturation in a large cohort of patients with cardiovascular disease, patients with
                                    lung disease and healthy subjects.

                                    2. Materials and Methods
                                         We recruited study participants older than 18 years with lung disease or cardiovascular
                                    disease. A group of healthy subjects was also included for comparison. Exclusion criteria
                                    were as follows: (1) missing upper extremity, hand, or ﬁnger; (2) inability to wear a watch
                                    because of wrist circumference or edema of the arm, wrist, or hand; (3) clinical instability.
                                         The Ethical Committee of the University Magna Graecia approved the study, and all
                                    subjects included in this study gave their written informed consent. The study conforms to
                                    the principles outlined in the Declaration of Helsinki and is independent from industry.
                                         Research staff were trained to measure SpO2 and HR with a smartwatch and a stan-
                                    dard pulse oximeter according to their manufacturers’ guidelines. The SpO2 and HR
                                    measurements were obtained with the Apple Watch 6 (Apple Inc., Cupertino, CA, USA)
                                    and with a standard Nellcor Portable SpO2 Patient Monitoring System, PM10N (Medtronic,
                                    Minneapolis, MN, USA), placed on the index and middle ﬁngers of the left hand (the same
                                    arm that was used for smartwatch measurement). The measurement accuracy of the latter
                                    system is ±2 digits in the range of values from 70% to 100% for saturation, and ±3 digits
                                    in the range of values from 20 to 250 bpm for pulse rate [11]. The measurements with
                                    the Apple Watch 6 and the Nellcor system were taken within 1 minute of each other in
                                    order to ensure comparability between the two devices. All subjects followed the same
                                    measurement schedule, and all measurements were repeated two times and averaged.
                                    Since movement artifacts are factors that can affect the reliability of measurements when
                                    using the smartwatch, particular attention was paid to its correct placement. During the
                                    measurements, the arms were placed at rest on a table. The wrist and palm were placed
                                    face down on a ﬂat surface and held steady. Particular attention was paid to ensuring that
                                    the Apple Watch ﬁtted snugly against the wrist. The wristband was snug but comfortable,
                                    and the back of the Apple Watch touched the wrist. If the wrist bones prevented the watch
                                    from ﬁtting snugly, it was moved along the arm to about 2.5 to 5 cm above the wrist [12].
                                         The primary aim of the study was the head-to-head comparison of the measurements
                                    of SpO2 and HR by the smartwatch and the standard pulse oximeter. The secondary
                                    aim was the comparison of the measurements of SpO2 and HR between subgroups (lung
                                    disease, CV disease, healthy subjects).
                                         Continuous variables are presented as mean ± standard deviation. For the assessment
                                    of differences in metric outcome variables, we used paired t-tests, and in the case of
                                    binary variables we used chi-square tests. A one-way analysis of variance (ANOVA) was
                                    used to determine any statistically signiﬁcant differences between the means of two or
                                    more independent (unrelated) groups. A p-value of <0.05 was considered statistically
                                    signiﬁcant. Shapiro–Wilk tests were used to assess the normality of continuous variables.
                                    The correlation between the two technologies was assessed using linear regression and
                                    estimated with Pearson analysis for normally distributed data and Spearman analysis
                                    for nonparametric data [13]. A plot of the differences between techniques was created
                                    according to the method described by J.M. Bland and D.G. Altmann [14]. Statistical analyses
                                    were performed using MedCalc Statistical Software, version 14.8.1 (MedCalc Software,
                                    Ostend, Belgium), and GraphPad Prism, version 8.0.0 (GraphPad Software, San Diego,
                                    CA, USA).
                               Case: 24-1285         Document: 30             Page: 63      Filed: 01/15/2024


J. Clin. Med. 2022, 11, 1467                                                                                                      3 of 7




                                    3. Results
                                         A total of 265 subjects were screened for enrolment in this study. Three subjects were
                                    excluded from the study as it was impossible to obtain data from them, probably due to
                                    them having small wrists. In ﬁve subjects, it was not possible to assess oxygen saturation
                                    with the Apple Watch despite multiple attempts, for reasons that could not be detected.
                                    After screening, 257 subjects were included in the present study. Of these 257 subjects,
                                    56 were healthy controls, 60 were patients with lung disease, and 141 were patients with
                                    cardiovascular disease. The study population is described in Table 1.

                                    Table 1. Participant characteristics.

                                                                        Healthy Subjects     Lung Disease    CV Disease
                                                                                                                              p
                                                                            (n = 56)           (n = 60)       (n = 141)
                                                                                                                69.21 ±
                                             Age, y ± SD                    43.18 ± 14.31    71.23 ± 10.44                  <0.001
                                                                                                                 11.53
                                              Male, n (%)                     24 (42.9)         45 (75)        99 (70.2)    <0.001
                                                                                                                76.22 ±
                                            Weight, n ± SD                  69.52 ± 12.15    77.59 ± 17.35                  <0.02
                                                                                                                 15.08
                                                                                                               165.51 ±
                                            Height, n ± SD                  168.30 ± 9.05    166.47 ± 7.37                   0.25
                                                                                                                  7.93
                                             BMI, n ± SD                    24.49 ± 3.64      27.90 ± 5.41   27.71 ± 4.50   <0.02
                                        Hypertension, n (%)                   10 (17.9)         52 (86.7)     126 (89.4)    <0.001
                                      Diabetes mellitus, n (%)                  4 (7.1)          21 (35)       47 (33.3)    <0.001
                                        Dyslipidemia, n (%)                    7 (12.5)         29 (48.3)     123 (87.2)    <0.001
                                              ACS, n (%)                         0 (0)            1 (1.7)      50 (35.5)    <0.001
                                              CCS, n (%)                         0 (0)            9 (15)       64 (45.4)    <0.001
                                         Stroke/TIA, n (%)                       0 (0)             3 (5)         6 (4.3)    <0.001
                                             Smoke, n (%)                     15 (26.8)          6 (10.0)      22 (15.6)    <0.001
                                             COPD, n (%)                         0 (0)          35 (58.3)      16 (11.3)    <0.001
                                             OSAS, n (%)                         0 (0)          16 (26.7)       10 (7.1)    <0.001
                                          O2 therapy, n (%)                      0 (0)          24 (40.0)      18 (12.8)    <0.001
                                     Room temperature, n ± SD               21.79 ± 1.32      21.28 ± 0.55   21.32 ± 0.91    0.94
                                     Body temperature, n ± SD               36.18 ± 0.36      36.20 ± 0.38   36.14 ± 0.40    0.98
                                     Wrist circumference, n ± SD            16.15 ± 1.38      16.94 ± 1.15   17.03 ± 1.39    0.91
                                    TIA = Transient Ischemic Attack; ACS = Acute Coronary Syndrome; CCS = Chronic Coronary Syn-
                                    drome; BMI = Body Mass Index; OSAS = Obstructive Sleep Apnea Syndrome; COPD = Chronic Obstructive
                                    Pulmonary Disease.

                                          Healthy subjects were younger than patients with lung or CV disease (p < 0.001)
                                    and had fewer risk factors. No differences were found regarding the technical features of
                                    measurements (room temperature, body temperature, wrist circumference; p = NS). We
                                    observed strong positive correlations between the smartwatch and the standard commercial
                                    device in the evaluation of SpO2 measurements (r = 0.89, p < 0.0001) and HR measurements
                                    (r = 0.98, p < 0.0001) (Figure 1a,b).
                                          A very good concordance was found between SpO2 measured by the smartwatch
                                    in comparison with the standard commercial device (bias, −0.2289; SD, 1.66; lower limit,
                                    −3.49; and upper limit, 3.04) using Bland–Altman analysis. Figure 2a shows the difference
                                    in % of SpO2 between the smartwatch and the standard commercial device plotted against
                                    the mean of the two readings. This difference was considered clinically nonsigniﬁcant.
                                    Similarly, an excellent agreement was found between HR measured by the smartwatch
                                    in comparison with the standard commercial device (bias, −0.1052; SD, 2.93; lower limit,
                                    −5.84; and upper limit, 5.63) using Bland–Altman analysis. Figure 2b shows the differ-
                                    ence in beats per minute in HR between the smartwatch and the standard commercial
                                    device plotted against the mean of the two readings. This difference was considered
                                    clinically nonsigniﬁcant.
                               Case: 24-1285        Document: 30                    Page: 64   Filed: 01/15/2024


J. Clin. Med. 2022, 11, 1467                                                                                                                 4 of 7




                                                                   r = 0.89                                          r = 0.98


                                                                   p < 0.0001                                        p < 0.0001




                                                       (a)                                               (b)
                                    Figure 1. Correlation plots between the smartwatch and the standard commercial device. (a) Cor-
                                    relation between the smartwatch and the standard commercial device in the evaluation of SpO2
                                    measurements (r = 0.89). (b) Correlation between the smartwatch and the standard commercial
                                    device in the evaluation of HR measurements (r = 0.98).


                                                                                   ϯ͘Ϭϰ
                                                                                                                                     ϱ͘ϲϯ



                                                                                                                                  оϬ͘ϭϬϱϮ
                                                                              оϬ͘ϮϮϴϵ
                                                                                                                                    оϱ͘ϴϰ

                                                                                оϯ͘ϰϵ




                                                         (a)                                              (b)
                                    Figure 2. Concordance between SpO2 and HR measured by the smartwatch in comparison with the
                                    standard commercial device using Bland–Altman analysis. Bland–Altman plots indicate the level
                                    of agreement between the smartwatch and the standard commercial device. The dashed green line
                                    represents the bias (mean difference), and the dashed blue lines represents the upper and the lower
                                    limits of agreement. This difference is considered clinically nonsigniﬁcant. (a) Difference in % of
                                    SpO2 between the smartwatch and the standard commercial device plotted against the mean of the
                                    two readings. (b) Difference in beats per minute in HR between the smartwatch and the standard
                                    commercial device plotted against the mean of the two readings.

                                         Furthermore, based on the mean differences between the smartwatch and the standard
                                    commercial device, no statistically signiﬁcant differences were found in both SpO2 and HR
                                    measurements (p = 0.46 and p = 0.93, respectively) (Figure 3a,b).
                                         We observed similar agreements and concordance between the standard commercial
                                    device and the smartwatch even in the different subgroups (lung disease, cardiovascular
                                    disease) for both parameters, SpO2 and HR (Figure S1).
                               Case: 24-1285        Document: 30          Page: 65       Filed: 01/15/2024


J. Clin. Med. 2022, 11, 1467                                                                                                  5 of 7




                                                               p = 0.46                                 p = 0.93




                                                    (a)                                           (b)
                                    Figure 3. Boxplots of the mean differences between the smartwatch and the standard commercial
                                    device. (a) Mean difference in SpO2 between the smartwatch and the standard commercial device
                                    (p = 0.46) (b) Mean difference in HR between the smartwatch and the standard commercial device.
                                    (p = 0.93).

                                    4. Discussion
                                          The major result of the present study is that the measurements of SpO2 obtained
                                    using the Apple Watch are reliable compared to the standard pulse oximetry technique
                                    in patients with cardiovascular disease, lung disease, and healthy subjects. It has been
                                    estimated that the number of Apple Watches in use worldwide is about 100 million [15].
                                    These smartwatches are used today in cardiology, especially for the accurate and reliable
                                    diagnosis of atrial ﬁbrillation [4–6]. Furthermore, the possibility of measuring changes in
                                    the ST segment has recently been demonstrated in our laboratory for the ﬁrst time [7]. In
                                    this study, the watch was placed in different body positions to obtain nine bipolar ECG
                                    tracings (corresponding to Einthoven leads I, II, and III). The multichannel smartwatch
                                    ECG reliably identiﬁed ST-segment changes in patients with acute coronary syndromes
                                    (NSTEMI and STEMI). Finally, we and others demonstrated that the smartwatches could be
                                    used in measuring the QT interval [8,9] and even Brugada syndrome [10]. As an additional
                                    feature, Apple developed the smartwatch Apple Watch 6 (Apple Inc, Cupertino, CA, USA)
                                    with a new sensor that consists of four LED clusters and four photodiodes. Incorporated
                                    into a completely redesigned crystal, this new sensor works in concert with the blood
                                    oxygen app to determine blood oxygen levels. Green, red, and infrared LEDs shine light
                                    onto the blood vessels in the wrist, and photodiodes measure the amount of light reﬂected.
                                    A recent study by Pipek et al. in outpatients with chronic obstructive pulmonary disease or
                                    interstitial lung diseases observed positive correlations between the Apple Watch device
                                    and commercial oximeters when evaluating heart rate measurements (r = 0.995, p < 0.001)
                                    and oximetry measurements (r = 0.81, p < 0.001) [16]. Our study is larger and improves
                                    on prior studies on this topic by including patients with cardiovascular disease. However,
                                    in contrast with the study by Pipek et al. [16], our study did not demonstrate differences
                                    in mean values of SpO2 measured with the Apple Watch compared to standard oximeters
                                    (Figure 3a). Therefore, our data did not show higher values with the Apple Watch compared
                                    to standard oximeters. Our data demonstrated a very good concordance between the SpO2
                                    measured by the smartwatch compared with the standard commercial device (bias, −0.2289;
                                    SD, 1.66; lower limit, −3.49; and upper limit, 3.04). Therefore, the continuous monitoring
                                    of blood oxygen saturation with the wearable device assessed in the present study can be
                                    beneﬁcial in various settings, both in patients with cardiovascular or lung diseases and in
                                    healthy subjects.
                                          There are several limitations of the present report. In our study, even under ideal
                                    conditions, in a small percentage of cases (eight subjects) it was not possible to measure
                                    oxygen levels with the smartwatch. Skin perfusion, the anatomical variability of the wrist,
                               Case: 24-1285           Document: 30              Page: 66          Filed: 01/15/2024


J. Clin. Med. 2022, 11, 1467                                                                                                                   6 of 7




                                    and other reasons could be responsible. The data from our study were acquired in a well-
                                    controlled environment with a constant room temperature (20 ± 2 ◦ C). Therefore, these
                                    results might not apply to different temperatures and environments—for example, in cold
                                    or hot temperatures. Another signiﬁcant limitation is the lack of laboratory data as well as
                                    the fact that there were few subjects with saturation < 90% or with heart rate > 100/min.
                                    The Apple Watch was used by an expert medical operator and the data accuracy might not
                                    apply to a broad population of users. Permanent or temporary changes to the skin, such
                                    as some tattoos, are another factor that can affect measurements. The ink used in some
                                    tattoos, as well as their design and saturation, can block light from the sensor, preventing
                                    the O2 levels app from taking measurements. The accuracy of pulse oximetry can be
                                    inﬂuenced by multiple factors, including perfusion and skin pigmentation [17]. In our
                                    population, however, all subjects were white and without tattoos in the skin area used for
                                    smartwatch use.

                                     5. Conclusions
                                          In conclusion, our study demonstrates that the wearable device used in the present
                                     study could be used to assess SpO2 in patients with cardiovascular or lung diseases and in
                                     healthy subjects.

                                    Supplementary Materials: The following supporting information can be downloaded at: https://
                                    www.mdpi.com/article/10.3390/jcm11061467/s1, Figure S1. Agreements and concordance between
                                    the standard commercial device and the smartwatch in the different subgroups. Table S1. SpO2
                                    Correlation between the smartwatch and the standard commercial device in different subgroups.
                                    Table S2. SpO2 Concordance between the smartwatch and the standard commercial device in
                                    difference subgroups. Table S3. HR Correlation between the smartwatch and the standard commercial
                                    device in different subgroups. Table S4. HR Concordance between the smartwatch and the standard
                                    commercial device in difference subgroups.
                                    Author Contributions: Conceptualization, C.S. and C.I.; methodology, A.P.; software, A.P.; valida-
                                    tion, C.S.; formal analysis, A.P.; investigation, C.M. and C.S.; resources, C.I.; data curation, C.M.;
                                    writing—original draft preparation, A.P.; writing—review and editing, C.M. and C.I.; visualization,
                                    A.P.; supervision, G.E., G.P. and C.I.; project administration, C.I. All authors have read and agreed to
                                    the published version of the manuscript.
                                     Funding: This research received no external funding.
                                     Institutional Review Board Statement: The study was conducted in accordance with the Declaration
                                     of Helsinki and approved by the Ethical Committee of the University Magna Graecia.
                                     Informed Consent Statement: Informed consent was obtained from all subjects involved in the study.
                                     Data Availability Statement: The data underlying this article will be shared upon reasonable request
                                     to the corresponding author.
                                     Conﬂicts of Interest: The authors declare no conﬂict of interest.

References
1.    Chan, E.D.; Chan, M.M.; Chan, M.M. Pulse oximetry: Understanding its basic principles facilitates appreciation of its limitations.
      Respir. Med. 2013, 107, 789–799. [CrossRef] [PubMed]
2.    NHS England. Specialty Guides for Patient Management during the Coronavirus Pandemic: Guidance for the Role and
      Use of Non-Invasive Respiratory Support in Adult Patients with Coronavirus (Conﬁrmed or Suspected). Available on-
      line: https://www.england.nhs.uk/coronavirus/wp-content/uploads/sites/52/2020/03/CLEARED_Specialty-guide_-NIV-
      respiratory-support-and-coronavirus-v2-26-March-003.pdf (accessed on 26 January 2022).
3.    Apple.com. Available online: https://www.apple.com/Apple-Watch-Series-6/ (accessed on 26 January 2022).
4.    Tison, G.; Sanchez, J.M.; Ballinger, B.; Singh, A.; Olgin, J.E.; Pletcher, M.J.; Vittinghoff, E.; Lee, E.S.; Fan, S.M.; Gladstone, R.A.; et al.
      Passive Detection of Atrial Fibrillation Using a Commercially Available Smartwatch. JAMA Cardiol. 2018, 3, 409–416. [CrossRef]
      [PubMed]
5.    Bumgarner, J.M.; Lambert, C.T.; Hussein, A.A.; Cantillon, D.J.; Baranowski, B.; Wolski, K.; Lindsay, B.D.; Wazni, O.M.; Tarakji,
      K.G. Smartwatch Algorithm for Automated Detection of Atrial Fibrillation. J. Am. Coll. Cardiol. 2018, 71, 2381–2388. [CrossRef]
      [PubMed]
                               Case: 24-1285       Document: 30             Page: 67         Filed: 01/15/2024


J. Clin. Med. 2022, 11, 1467                                                                                                         7 of 7




6.    Perez, M.V.; Mahaffey, K.W.; Hedlin, H.; Rumsfeld, J.S.; Garcia, A.; Ferris, T.; Balasubramanian, V.; Russo, A.M.; Rajmane, A.;
      Cheung, L.; et al. Large-Scale Assessment of a Smartwatch to Identify Atrial Fibrillation. N. Engl. J. Med. 2019, 381, 1909–1917.
      [CrossRef] [PubMed]
7.    Spaccarotella, C.A.M.; Polimeni, A.; Migliarino, S.; Principe, E.; Curcio, A.; Mongiardo, A.; Sorrentino, S.; De Rosa, S.; Indolﬁ, C.
      Multichannel Electrocardiograms Obtained by a Smartwatch for the Diagnosis of ST-Segment Changes. JAMA Cardiol. 2020, 5,
      1176–1180. [CrossRef] [PubMed]
8.    Spaccarotella, C.A.M.; Migliarino, S.; Mongiardo, A.; Sabatino, J.; Santarpia, G.; De Rosa, S.; Curcio, A.; Indolﬁ, C. Measurement
      of the QT interval using the Apple Watch. Sci. Rep. 2021, 11, 10817. [CrossRef] [PubMed]
9.    Strik, M.; Caillol, T.; Ramirez, F.D.; Abu-Alrub, S.; Marchand, H.; Welte, N.; Ritter, P.; Haïssaguerre, M.; Ploux, S.; Bordachar, P.
      Validating QT-Interval Measurement Using the Apple Watch ECG to Enable Remote Monitoring During the COVID-19 Pandemic.
      Circulation 2020, 142, 416–418. [CrossRef] [PubMed]
10.   Spaccarotella, C.; Santarpia, G.; Curcio, A.; Indolﬁ, C. The smartwatch detects ECG abnormalities typical of Brugada syndrome. J.
      Cardiovasc. Med. 2021, 22, e24–e25. [CrossRef] [PubMed]
11.   Medtronic.com. Available online: https://www.medtronic.com/content/dam/covidien/library/us/en/product/pulse-
      oximetry/nellcor-portable-spo2-patient-monitoring-system-sell-sheet.pdf (accessed on 26 January 2022).
12.   Modi, A.M.; Kiourkas, R.D.; Li, J.; Scott, J.B. Reliability of Smartphone Pulse Oximetry in Subjects at Risk for Hypoxemia. Respir.
      Care 2021, 66, 384–390. [CrossRef] [PubMed]
13.   Liu, J.; Tang, W.; Chen, G.; Lu, Y.; Feng, C.; Tu, X.M. Correlation and agreement: Overview and clariﬁcation of competing concepts
      and measures. Shanghai Arch. Psychiatry 2016, 28, 115–120. [PubMed]
14.   Bland, J.M.; Altman, D.G. Measuring agreement in method comparison studies. Stat. Methods Med. Res. 1999, 8, 135–160.
      [CrossRef] [PubMed]
15.   Macworld.co.uk. Available online: https://www.macworld.co.uk/news/how-many-apple-watches-sold-3801687/ (accessed on
      26 January 2022).
16.   Pipek, L.Z.; Nascimento, R.F.V.; Acencio, M.M.P.; Teixeira, L.R. Comparison of SpO2 and heart rate values on Apple Watch and
      conventional commercial oximeters devices in patients with lung disease. Sci. Rep. 2021, 11, 18901. [CrossRef] [PubMed]
17.   Luks, A.M.; Swenson, E.R. Pulse Oximetry for Monitoring Patients with COVID-19 at Home. Potential Pitfalls and Practical
      Guidance. Ann. Am. Thorac. Soc. 2020, 17, 1040–1046. [CrossRef] [PubMed]
Case: 24-1285   Document: 30   Page: 68   Filed: 01/15/2024




       (;+,%,7




                     Reply-Add-32
                     Case: 24-1285                  Document: 30                Page: 69            Filed: 01/15/2024


Original Research

                                                                                                                       Digital Health
                                                                                                                       Volume 8: 1–9
Commercial smartwatch with pulse oximeter                                                                              © The Author(s) 2022
                                                                                                                       Article reuse guidelines:
detects short-time hypoxemia as well as                                                                                sagepub.com/journals-permissions
                                                                                                                       DOI: 10.1177/20552076221132127
standard medical-grade device: Validation study                                                                        journals.sagepub.com/home/dhj




Jakub Raﬂ1 , Thomas E Bachman1, Veronika Raﬂ-Huttova1                                         ,
Simon Walzel1 and Martin Rozanek1



Abstract

Objective: We investigated how a commercially available smartwatch that measures peripheral blood oxygen saturation
(SpO2) can detect hypoxemia compared to a medical-grade pulse oximeter.
Methods: We recruited 24 healthy participants. Each participant wore a smartwatch (Apple Watch Series 6) on the left wrist
and a pulse oximeter sensor (Masimo Radical-7) on the left middle ﬁnger. The participants breathed via a breathing circuit
with a three-way non-rebreathing valve in three phases. First, in the 2-minute initial stabilization phase, the participants
inhaled the ambient air. Then in the 5-minute desaturation phase, the participants breathed the oxygen-reduced gas mixture
(12% O2), which temporarily reduced their blood oxygen saturation. In the ﬁnal stabilization phase, the participants inhaled
the ambient air again until SpO2 returned to normal values. Measurements of SpO2 were taken from the smartwatch and the
pulse oximeter simultaneously in 30-s intervals.
Results: There were 642 individual pairs of SpO2 measurements. The bias in SpO2 between the smartwatch and the oximeter was 0.0%
for all the data points. The bias for SpO2 less than 90% was 1.2%. The differences in individual measurements between the smartwatch
and oximeter within 6% SpO2 can be expected for SpO2 readings 90%–100% and up to 8% for SpO2 readings less than 90%.
Conclusions: Apple Watch Series 6 can reliably detect states of reduced blood oxygen saturation with SpO2 below 90% when
compared to a medical-grade pulse oximeter. The technology used in this smartwatch is sufﬁciently advanced for the indi-
cative measurement of SpO2 outside the clinic.
Trial Registration: ClinicalTrials.gov NCT04780724

Keywords

Wearables, oxygen saturation, pulse oximetry, reﬂectance mode, hypoxemia, hypoxic gas mixture, Apple Watch
Submission date: 17 March 2022; Acceptance date: 22 September 2022




Introduction
Recently, consumer wearables have created the vision of new                 Earlier feasibility studies focused on activity monitoring and
possibilities for personal care.1–5 Routine monitoring of bio-
logical signals such as heart rate or sleep pattern using wearable
                                                                            1
devices is an emerging trend in health monitoring outside the                Department of Biomedical Technology, Faculty of Biomedical Engineering,
                                                                            Czech Technical University in Prague, Kladno, Czech Republic
clinic and in-home care with a multi-billion dollar potential.6,7
The COVID-19 pandemic and its aftermath will only emphasize                 Corresponding author:
                                                                            Jakub Raﬂ, Department of Biomedical Technology, Faculty of Biomedical
this trend.8,9 Nevertheless, the clinical applicability of wearables        Engineering, Czech Technical University in Prague, nam. Sitna 3105, CZ-272
must be separated from consumer curiosity.10–14 Currently, the              01 Kladno, Czech Republic.
role of smartwatches in health care is investigated and discussed.          Email: raﬂ@fbmi.cvut.cz

             Creative Commons Non Commercial CC BY-NC: This article is distributed under the terms of the Creative Commons Attribution-NonCommercial
             4.0 License (https://creativecommons.org/licenses/by-nc/4.0/) which permits non-commercial use, reproduction and distribution of the work
without further permission provided the original work is attributed as speciﬁed on the SAGE and Open Access page (https://us.sagepub.com/en-us/nam/
open-access-at-sage).
                                                              Reply-Add-33
                       Case: 24-1285              Document: 30              Page: 70          Filed: 01/15/2024

2                                                                                                                     DIGITAL HEALTH


chronic disease self-management.15,16 Recent prospective             error.36 Similarly, a study with a wrist-worn reﬂectance pulse
studies have looked at the use of smartwatch technology in           oximeter under development found its performance was worse
a range of medical applications such as the detection of             than ﬁnger-based oximeters and it was not able to detect hypox-
atrial ﬁbrillation,17,18 sleep monitoring,19 post-admission          emia.37 Also, Hermand et al. reported a commercial smartwatch
recovery in pediatric patients with respiratory diseases,20          failed to provide trustworthy SpO2 values, especially during
monitoring women during pregnancy21 or pre-habilitation              induced oxygen desaturation.38 On the other hand, a study by
prior to abdominal cancer surgery.22 Several studies were            Lauterbach et al. tested a commercial smartwatch in a normoba-
also interested in using smartwatch data in the detection of         ric hypoxia chamber and found only minimal differences in
viral infections such as COVID-19.23,24 However, a previous          SpO2 measured by the smartwatch compared to a standard
study warned that a smartwatch did not have sufﬁcient accur-         pulse oximeter,26 with the largest difference for the lowest
acy in measuring blood pressure or pulse oximetry compared           inspiratory oxygen fraction. Other recent studies have also
to clinical standards.13                                             reported positive results on the accuracy of wrist SpO2 measure-
    Pulse oximetry as a method of indirect measurement of per-       ments by commercial devices, but most of them did not focus on
ipheral blood oxygen saturation (SpO2) is a relatively new metric    hypoxia.39–42
in smartwatches, but it is becoming routinely available in new           Thus, there are currently a few studies available that evaluate
models,25 allowing convenient SpO2 monitoring at home or,            wrist SpO2 measurement with mixed results. Concerns about
with some restrictions due to movement, outdoors without the         measurement accuracy remain and, as new smartwatch models
need for a dedicated pulse oximeter. In addition, the smart-         are launched, further studies are desirable.27 A question persists
watch’s SpO2 sensor does not need to be attached to a ﬁnger          whether wrist-worn devices, and smartwatches in particular, can
to complicate daily activities. This might be useful not only to     monitor SpO2 even in low blood oxygen levels well enough to
athletes in training or mountaineers in high altitudes but more      provide early warning of desaturation episodes.
importantly to patients suffering from cardiovascular diseases,          This study aims to compare the measurement of periph-
lung diseases such as chronic obstructive pulmonary disease          eral blood oxygen saturation using a very popular smart-
(COPD), or dealing with the consequences or concerns of              watch to a medical-grade pulse oximeter at normal and
COVID-19.26,27 In particular, the ability of smartwatches to         potentially hypoxic levels.
measure SpO2 without conscious user intervention might help
to detect intermittent hypoxemia associated with sleep apnea, a
chronic health disorder that results in neurocognitive dysfunction   Methods
and cardiovascular problems.28–30                                    The prospective single-arm interventional study was
    Pulse oximetry is an optical method that evaluates               approved by the Ethical Review Board of the Faculty of
changes in light absorption at multiple frequencies due to           Biomedical Engineering, Czech Technical University in
the oxygen content in arterial blood. Levels of SpO2 95%             Prague (No. B1/2021). The study was registered with
or higher are considered normal, whereas SpO2 below                  ClinicalTrials.gov (identiﬁer NCT04780724).
90%, even if transient, is considered clinically relevant.31
Standard medical pulse oximeters, including portable oxi-
meters, use transmission pulse oximetry, in which the                Recruitment
light sources and the photodetector are positioned on the            Twenty-four healthy student volunteers (mean ± SD: age 24
opposite sides of the measurement site (usually a thin               ± 2 years, height 181 ± 8 cm, mass 77 ± 11 kg) were
place such as a ﬁngertip or an earlobe) and the light                recruited for the study. They were only included if they
passing through the site is evaluated. Smartwatches, and             did not suffer from any disease of the cardiovascular
other wrist-worn devices, for practical reasons, utilize             system and had no injury to the upper limbs or hands that
reﬂectance pulse oximetry, in which the light sources and            could affect the peripheral perfusion. In addition, partici-
the photodetector are positioned on the same side of the             pants were excluded for pregnancy, diabetes, hypotension,
measurement site and the light reﬂected into the photo-              hypertension, acute asthma or any other acute respiratory
detector from the tissue is evaluated. Reﬂectance pulse oxi-         disease. None of the participants used nail polish or had
meters face less light absorption and thus have less power           false nails at the time of the measurement. Participants
consumption, can be placed at diverse measurement loca-              were required to stay at least 30 min at rest before entering
tions, and the absence of moving parts increases their resist-       the laboratory. All participants provided written informed
ance to motion artifacts.32,33 However, in practice, the             consent before their enrollment into the study.
reﬂectance mode can exhibit a low signal-to-noise ratio
and be sensitive to ambient light sources.34 At the wrist,
the performance of the reﬂectance pulse oximeter depends             Experiment setup and protocol
on the exact placement of the sensor.34,35 In a study with           Upon arrival at the laboratory, Apple Watch Series 6 (Apple
an experimental reﬂectance pulse oximeter system, SpO2               Inc., Cupertino, CA, USA)—further referred to as the
measurement at the wrist showed an unacceptably large                smartwatch—was placed on a participant’s left wrist and




                                                           Reply-Add-34
                  Case: 24-1285              Document: 30            Page: 71        Filed: 01/15/2024

Raﬂ et al.                                                                                                                   3


the sensor of a medical-grade pulse oximeter Radical-7            simultaneous smartwatch and oximeter measurements.
(Masimo Corp., Irvine, CA, USA)—further referred to as            Uncertainties in the estimates of the bias and 95% limits
the oximeter—was attached to the left middle ﬁnger of             of agreement are expressed as 95% conﬁdence intervals.
the participant. During the experimental procedure, SpO2          The standard deviation was calculated using the modiﬁed
readings were taken by hand from the smartwatch and               Bland–Altman method for multiple observations per indi-
oximeter simultaneously. Participants were sitting at rest        vidual when the measured quantity changes over the
throughout the experiment, and they were asked to keep            period of observation.45 In addition, we evaluated the root
their hands still on the table with their wrist and palm          mean square difference between smartwatch and oximeter
down and ﬂat and avoid any movement according to the              paired measurements as
instructions of the smartwatch manufacturer.                                     
                                                                                   
    A simple breathing circuit with a three-way non-                                  (SpO2,smartwatch − SpO2,oximeter )2
rebreathing valve was assembled for the experiment. It                   Arms =
                                                                                                     n
allowed the participant to inhale the hypoxic gas mixture
(12% O2) from a polyethylene Douglas bag or the                   where n is the number of evaluated pairs of SpO2
ambient air and to exhale into the ambient air outside the        measurements.44
Douglas bag. The gas composition was monitored continu-              Further, the differences in the smartwatch and oximeter
ously by a Datex Ohmeda S/5 patient monitor                       measurements were evaluated with respect to study time,
(Datex-Ohmeda Inc., Madison, WI, USA) with a sensor               that is, to evaluate the relative response rate of the two
placed between the three-way valve and the participant. A         devices. To do this we averaged the measurements of all
disposable antibacterial ﬁlter separated the participant          participants at each study time for the smartwatch and for
from the breathing circuit.                                       the oximeter. The mean SpO2 values across all participants
    There were three phases of the experimental procedure.        and iterations of the experimental procedure were used to
During the ﬁrst 2 min, in the initial stabilization phase, par-   graphically compare the average time courses of the
ticipants inhaled the ambient air via the breathing circuit.      pooled smartwatch data and the pooled oximeter data. A
Two SpO2 readings were taken (times 0:45 min and 1:15             two-tailed paired t test was used to evaluate the statistical
min of the experiment). Then, in the 5-minute desaturation        difference between the smartwatch data and the oximeter
phase, participants inhaled the hypoxic gas mixture from          data at each measurement time. P value less than 0.05
the Douglas bag. Readings of SpO2 were taken every 30             was considered statistically signiﬁcant. Only the observa-
s (from time 2:45 min to time 6:45 min of the experiment).        tions, where simultaneous readings from both devices
The ﬁnal stabilization phase followed when the participants       were available, were included in the analysis. All data
inhaled the ambient air and SpO2 was recorded every 30 s          were analyzed in Matlab 2021a (MathWorks, Natick,
(from time 7:30 min) until SpO2 returned to normal values.        MA, USA) after transcription from the log.
Typically, three or four readings were taken in the ﬁnal sta-
bilization phase. Each participant underwent the experi-
mental procedure twice. There was a delay of a minimum            Results
of 1 h between the two iterations of the experimental pro-
cedure to address possible slow washout of test gas.              Agreement between devices
                                                                  The study was conducted in the Laboratory of special
                                                                  equipment for ICU of the Czech Technical University in
Data processing and analysis                                      Prague, Department of Biomedical Engineering, Kladno,
We concluded that the number of participants enrolled in          Czech Republic, during February and March 2021 at an
the study and the number of paired SpO2 observations              altitude of 405 m (1330 ft). All 24 volunteers (ﬁve
would meet the basic recommendations of the Food and              women and nineteen men, all Caucasian, aged 20–28
Drug Administration and the International Organization            years) completed the experiment with two iterations of
for Standardization (ISO 80601-2-61) for study design for         the experimental procedure and two measuring devices,
in vivo accuracy testing of pulse oximeters (10 or more           so there were 48 series of paired measurements available.
healthy subjects, 200 or more paired measurements).43,44          As in some cases, one of the devices did not provide a
   We used the Bland–Altman analysis to compare the               valid reading, there were 1284 valid paired readings in
agreement between simultaneous smartwatch and oximeter            total out of a possible number of 1364. The SpO2 readings
SpO2 measurements. The Bland–Altman analysis looks at             ranged between 76% and 100%. Most (75%) were between
two parameters, the bias and 95% limits of agreement.             90% and 100%, 24% between 80% and 89% and 1% below
The bias is quantiﬁed as the mean difference in the paired        80%.
measurements. The 95% limits of agreement, calculated                 The presented Bland–Altman plot is based on 642 indi-
as the mean difference ± 1.96 standard deviations, deter-         vidual data points calculated from all complete pairs of
mine the range of expected difference in future                   pooled SpO2 readings (Figure 1). The bias (mean




                                                     Reply-Add-35
                     Case: 24-1285            Document: 30           Page: 72         Filed: 01/15/2024

4                                                                                                           DIGITAL HEALTH


difference) in SpO2 between the smartwatch and oximeter        the higher average SpO2 measured by the smartwatch
was 0.0% for all the data points. The 95% conﬁdence            during induced desaturation. Generally, there are differ-
limits of the bias were −0.2% and 0.3%, indicating that        ences between the reaction times of pulse oximeters to
there was no statistically signiﬁcant bias between the meas-   sudden hypoxia.46 During the experiments, we also
uring devices. The 95% limits of agreement were estimated      observed a faster return of smartwatch values than oximeter
to be −5.8% and 5.9%. The most extreme individual differ-      in the ﬁnal stabilization phase after the desaturation phase,
ences between the smartwatch and oximeter SpO2 measure-        but not being the primary concern of our study, there were
ments were −9% and 17%. The Arms evaluated across the          not enough data to evaluate for this.
pooled SpO2 readings was 3.0%. The same approach was
used to analyze the data after splitting into SpO2 90%–
100% and SpO2 less than 90%. The results are summarized        Comparison with prior work
in Table 1. As shown, the absolute bias was greater for        Several studies have evaluated smartwatches in hypoxemia.
SpO2 measurements under 90%.                                   In their analysis, Lauterbach et al. compared a different
                                                               smartwatch Garmin fē nix® 5X Plus (Garmin, Olathe, KS,
                                                               USA) with a medical-grade pulse oximeter Model 7500
Average response of devices                                    (Nonin Medical BV, Amsterdam, the Netherlands) in a cus-
The time series of average smartwatch and oximeter mea-        tomized chamber that allowed to change and maintain the
surements show the absolute differences between the            inspiratory oxygen fraction. Twenty-three volunteers
means of SpO2 measurements were small (Figure 2). The          breathed a gas mixture under normobaric conditions with
difference between the means of the smartwatch and oxim-       inspiratory oxygen fractions between 14% and 21%. The
eter ranged from −0.64% (study time 195 s) to 0.74%            study reported SpO2 bias (smartwatch−oximeter) only
(study time 480 s) with the minimum absolute difference        0.7%–0.8% for higher values of the inspiratory oxygen
of the means 0.22% (study time 450 s). None of the differ-     fraction, but 3% for the smallest inspiratory oxygen frac-
ences between paired smartwatch and oximeter measure-          tion. Two explanations were offered for the bias increase
ments at any study time reached a statistically signiﬁcant     by the authors of the study; ﬁrst, elevated PaCO2 levels
difference.                                                    resulting in increased other hemoglobin derivatives in the
                                                               bloodstream, and second, hypoxia-mediated vasoconstric-
                                                               tion that altered blood ﬂow in ﬁngers compared to the
Discussion                                                     wrist.26 Hermand et al. compared a smartwatch from the
                                                               same manufacturer (Garmin Forerunner 245) with a
Principal results                                              medical-grade oximeter on 10 healthy participants during
The main ﬁnding of our study is that SpO2 measurement by       normoxia and normobaric hypoxia when the inspiratory
Apple Watch Series 6, a consumer product, did not differ on    oxygen fraction was gradually reduced to 10.5%. The
average from SpO2 measurement by Masimo Radical-7              total observed bias of the smartwatch was 5.4%, and the
pulse oximeter, a medical device. The average absolute dif-    bias for the lowest oxygen fraction was even 13.2%. The
ference or bias between smartwatch and oximeter SpO2           authors concluded the smartwatch was not a reliable alter-
measurements, evaluated for all pooled data, in two            native to medical-grade oximeters.38 A study with another
ranges and at the individual study times, was less than        smartwatch (Withings ScanWatch) by Kirszenblat and
1% SpO2. This is the resolution in which the SpO2 values       Edouard reached opposite ﬁndings. Measurements of
are displayed on both devices.                                 SpO2 in 14 healthy participants were compared with arterial
   At low-oxygen levels, the smartwatch tended to measure      blood oxygen saturation (SaO2) determined with a
higher SpO2 values than the oximeter, and this difference      co-oximeter at various stable levels of oxygen saturation.
averaged approximately 1% SpO2 for readings less than          The total bias found was 0.98% (right wrist) and 1.56%
90%. The time chart (Figure 2) illustrates a very similar      (left wrist), and overall accuracy was adequate to medical-
response of both devices for the “average patient,” with       grade oximeters.40 Our results, i.e., the negligible bias at
the average difference between SpO2 reported by the smart-     higher saturation and the small bias with decreased satur-
watch and oximeter at the end of the desaturation phase        ation, generally correspond to those of Lauterbach et al.
being only 0.26%, and −0.23% upon recovery. The time           and Kirszenblat and Edouard although we detected a
series in Figure 2 also suggests that the response of the      smaller bias for lower inspiratory oxygen fraction (12% in
smartwatch to sudden desaturation may be slower than           our study vs. 14%) and somewhat lower measured SpO2
the response of the oximeter. The smartwatch required a        values than Lauterbach et al. We also suggest that the differ-
15-s period for a single SpO2 measurement compared to          ences reﬂect different devices used in the studies.
the 2–4-s averaging time of the oximeter, so the smartwatch        Two recent studies examined the SpO2 measurement
reading lagged behind the oximeter readings during the         using Apple Watch Series 6 compared to medical-grade
continuous SpO2 decrease. This may have contributed to         pulse oximeters.41,42 The studies on subjects at rest




                                                      Reply-Add-36
                     Case: 24-1285                 Document: 30          Page: 73          Filed: 01/15/2024

Raﬂ et al.                                                                                                                              5




Figure 1. Differences between simultaneous SpO2 readings of the smartwatch (Apple Watch 6) and oximeter (Masimo Radical-7) across
different ranges of oxyhemoglobin saturation. Pooled SpO2 measurements were analyzed for all participants grouped. The solid line is the
mean difference of the measurements (bias). Dashed lines are the 95% limits of agreement. The area of markers is proportional to the
number of measurements.

Table 1. Comparison of measurement bias and agreement.

    SpOa2, %               Biasb (95% CI), %           Lower LOA (95% CI), %               Upper LOA (95% CI), %              Arms, %

    Entire range            0.0 (−0.2 to 0.3)            −5.8 (−6.2 to −5.4)                    5.9 (5.5–6.3)                   3.0

    <90                         1.2 (0.7 to 1.7)         −5.3 (−6.1 to −4.4)                    7.6 (6.7–8.4)                   3.4

    90–100                 −0.3 (−0.6 to 0.1)            −5.8 (−6.2 to −5.4)                    5.1 (4.7–5.5)                   2.8
a
 [(smartwatch + oximeter)/2].
b
 [smartwatch − oximeter].
LOA: 95% limits of agreement.


included both healthy participants and diseased participants         differences in individual SpO2 measurements against
with lung or cardiovascular diseases. Both studies reported          direct measurements of SaO2 by co-oximetry under pro-
a bias (smartwatch−oximeter) of less than 1% and no sig-             gressive normobaric hypoxia. The 95% limits of agreement
niﬁcant differences between subject groups (healthy or dis-          reported by Kolb et al. were (−6.5%, 5.6%) and (−7.6%,
eased). However, neither of the two studies induced                  9.8%) for SpO2 ﬁnger measurements when SaO2 was
hypoxemia in the subjects, and they contained very few               above 85% and under 85%, respectively.47 Others also
SpO2 measurements below 90%.                                         reported individual readings may differ as much as 6%.48
   The differences between Apple Watch Series 6 and                  In a more recent study, narrower 95% limits of agreement
Masimo Radical-7 within 6% SpO2 can be expected for                  (−1.8%, 1.8%) were reported by Louie et al. for a nonmo-
individual measurements for SpO2 readings 90%–100%                   tion SpO2 measurement when SaO2 was above 90%.49
and up to 8% for SpO2 readings less than 90%. This                      The root mean square difference is the standard metric
again is consistent with Lauterbach et al. and Kirszenblat           for assessing accuracy in pulse oximetry that combines
and Edouard who reported 95% limits of the agreement                 bias and precision of the SpO2 measurement when com-
up to 8.6% and 6.6%, respectively. The differences in indi-          pared to co-oximetry. Accuracy better or equal to 4.0%
vidual SpO2 measurements between the smartwatch and                  SpO2 is required in general.44 Typically, Arms ≤ 3.0 and
oximeter are also similar to what was reported as                    Arms ≤ 3.5 are expected for transmittance and reﬂectance




                                                        Reply-Add-37
                      Case: 24-1285             Document: 30            Page: 74         Filed: 01/15/2024

6                                                                                                              DIGITAL HEALTH




Figure 2. The time courses of the mean of all smartwatch SpO2 measurements (Apple Watch 6) and the mean of all oximeter SpO2
measurements (Masimo Radical-7) across all 24 participants. Data are mean ± SEM.


sensors, respectively.43 Medical-grade oximeters have an          mixture. The results could be different in the case of
accuracy of 2%–3% according to manufacturers or 3%–4%             chronic elderly patients with very long or extreme desatura-
according to what was reported in clinical studies.32,50          tions. However, the contribution of wearables for such
Numerous studies however reported that the accuracy of            patients in real-world situations will not be a detailed ana-
pulse oximeters deteriorates as blood oxygen saturation           lysis of the severity of the condition, but rather a warning
decreases.47,49,51,52 The Arms metric has also been utilized      of an aggravated trend in the chronic problem or a sudden
when comparing SpO2 measurements. Verkruysse et al. com-          major change. Our results suggest that SpO2 monitoring
pared contactless photoplethysmography with a median of           using wearables could be, due to its ability to detect the
measurements taken by standard pulse oximeters in healthy         magnitude and speed of desaturation, a useful tool in self-
adults under normoxic conditions and also hypoxic conditions      care outside the clinic.
where the inspiratory oxygen fraction was about 15%.53 They          We did not evaluate SaO2 in our study as this would
estimated Arms ≤ 2.5% for short-time segments and even Arms       require arterial blood sampling and greatly complicate the
≤ 1.7% when discarding short-time errors. Hahnen and her col-     experiment. It was demonstrated that SpO2 overestimates
leagues investigated the accuracy of a handheld portable device   saturation compared to SaO2.52,54,55 Due to the inaccessibil-
for vital sign measurements on 85 participants and reported       ity of actual SaO2 values, we chose 12% O2 and the
Arms was 3.1% for SpO2 when compared to a medical-grade           5-minute duration of the desaturation phase as the limit to
vital signs monitor.13 In this context our results, Arms < 3.0%   avoid a frequent decrease of SpO2 below 80% and
for saturation of 90% and greater and Arms < 3.5% for satur-      prevent transient cognitive effects that may be associated
ation under 90%, seem within the expected range with some         with deep hypoxia.56 The reduced oxygen fraction we
of the 6%–8% span likely attributable to the Masimo device.       used under normobaric conditions corresponds approxi-
Even with the large uncertainty between paired measurements,      mately to the partial pressure of oxygen at an altitude of
the smartwatch seems reliable in detecting relevant drops in      4400 m and the results of our study may therefore not be
SpO2 below 90% even of short duration.                            applicable to areas of higher altitude or to SpO2 below
                                                                  80% in general.
                                                                     The steady decline of the SpO2 levels at the end of the
Limitations                                                       desaturation phase (Figure 2) suggests that the desaturation
Our study has numerous limitations. The study included            phase needed to be extended to reach the plateau. This
only healthy young volunteers and short-time desaturation         may have better explained whether there was some time
induced by the low-oxygen level of the inhaled gas                delay in the smartwatch readings compared to the oximeter




                                                         Reply-Add-38
                  Case: 24-1285            Document: 30            Page: 75          Filed: 01/15/2024

Raﬂ et al.                                                                                                                      7


readings. Nevertheless, our focus was primarily on whether      Conclusions
the smartwatch can provide an alert of the same quality as
                                                                Apple Watch Series 6, as a representative of wearables, pro-
repeated SpO2 measurements with a medical-grade pulse
                                                                vides reliable SpO2 values as compared to a medical-grade
oximeter and thus be a useful screening method for detect-
                                                                pulse oximeter, at both normal oxygen levels and induced
ing hypoxia.
                                                                desaturation with SpO2 below 90%. The SpO2 monitoring
   Finally, in our study, we used one type of smartwatch
                                                                technology used in this smartwatch is sufﬁciently advanced
from a single manufacturer. This must be considered
                                                                for the indicative measurement of SpO2 outside the clinic
when generalizing our observations to other smartwatches
                                                                and can detect states of reduced blood oxygen saturation.
in the rapidly evolving market. Smartwatches from other
manufacturers may show differences in performance,
                                                                Acknowledgements: The authors thank Lenka Horakova, MD,
even if they use the same principle of reﬂectance pulse
                                                                for the medical supervision of the experiments.
oximetry, as several hardware and software factors can
affect the PPG signal, including the geometry of the light
emitter and light detector or denoising.57 Smartwatch per-      Contributorship: JR, TEB, VRH and MR conceptualized the
formance may also vary between users at rest and while          study. JR and VRH administered the study. VRH and SW
                                                                executed the study and acquired the data. JR and TEB
active. We measured participants at rest, as required by
                                                                performed data analysis, interpretation, and visualization. JR and
the manufacturer. The results may not correspond to mea-        TEB drafted the manuscript. All authors revised and edited the
surements during or just after sporting activities due to       manuscript. All authors approved the ﬁnal version of the
motion artifacts, which could be the subject of further         manuscript.
study.
                                                                Declaration of Conﬂicting Interests: The authors declared no
Future perspectives                                             potential conﬂicts of interest with respect to the research,
                                                                authorship, and/or publication of this article.
The availability and convenience of measuring biological
signals using wearable devices such as smartwatches offer
the potential to expand patient care options in chronic         ORCID iDs: Jakub Raﬂ      https://orcid.org/0000-0001-5102-9354
                                                                Veronika Raﬂ-Huttova      https://orcid.org/0000-0001-7370-5667
disease management. The clinical standard so far has
been isolated measurements under the supervision of
health professionals, which are taken with a relatively         Data availability statement: The data underlying this article will
large time lag and then compared with the prevalence of         be shared on reasonable request to the corresponding author.
the clinically relevant events in the population. Wearables
allow long-term and continuous monitoring of trends or,         Ethical approval: The Ethical Review Board of the Faculty of
on the contrary, detection of abnormal ﬂuctuations in indi-     Biomedical Engineering, Czech Technical University in Prague
viduals9,11,58 and thus more quickly assess the change in       approved the study (No. B1/2021).
their health status over time. Wearables are not intended
to replace medical devices, but they need sufﬁcient accur-      Funding: The authors disclosed receipt of the following ﬁnancial
acy to provide an approximate assessment of an indivi-          support for the research, authorship, and/or publication of this
dual’s condition.59 The risk is both overreacting to            article: This work was supported by the Czech Technical
clinically irrelevant ﬂuctuations in monitored signals and      University in Prague [grant numbers SGS20/202/OHK4/3T/17,
neglecting serious changes related to real health complica-     SGS22/202/OHK4/3T/17].
tions.14 In particular, while portable pulse oximeters with
transmission technology have been shown to be comparable        Guarantor: JR
to patient monitors,60 data contradict SpO2 measurement
with commercial smartwatches as this feature is relatively      Informed consent: All participants provided written informed
new. The results of our study are intended to help ﬁll this     consent before their enrollment in the study.
gap. They suggest that smartwatch technology for measur-
ing SpO2 has matured enough to be considered part of
                                                                References
patient care. This can help detect hidden, but potentially
                                                                 1. Ehrler F and Lovis C. Supporting elderly homecare with
serious problems such as sleep apnea, which is a growing
                                                                    smartwatches: advantages and drawbacks. Stud Health
problem with possible cognitive impacts,56 or in the early
                                                                    Technol Inform 2014; 205: 667–671.
detection of acute exacerbations of chronic conditions           2. Reeder B and David A. Health at hand: a systematic review of
such as COPD.14 We further suggest that the exact require-          smart watch uses for health and wellness. J Biomed Inform
ment of each of these potential health care applications need       2016; 63: 269–276.
to be articulated and wearable devices evaluated against         3. Tana J, Forss M and Hellstén T. The use of wearables in
those requirements.                                                 healthcare—challenges and opportunities. Arcada Working




                                                    Reply-Add-39
                        Case: 24-1285                Document: 30              Page: 76           Filed: 01/15/2024

8                                                                                                                         DIGITAL HEALTH


    Papers. https://www.theseus.ﬁ/handle/10024/140584. (2017,               pandemic in Finland: longitudinal monitoring through smart-
    accessed 23 July 2021).                                                 watch technology. PLoS One 2021; 16: e0246494.
 4. Kumari P, Mathew L and Syal P. Increasing trend of wear-            22. Waller E, Sutton P, Rahman S, et al. Prehabilitation with wear-
    ables and multimodal interface for human activity monitoring:           ables versus standard of care before major abdominal cancer
    a review. Biosens Bioelectron 2017; 90: 298–307.                        surgery: a randomised controlled pilot study (trial registration:
 5. Isakadze N and Martin SS. How useful is the smartwatch                  NCT04047524). Surg Endosc 2022; 36: 1008–1017.
    ECG? Trends Cardiovasc Med 2020; 30: 442–448.                       23. Mishra T, Wang M, Metwally AA, et al. Pre-symptomatic
 6. Phaneuf A. Latest trends in medical monitoring devices and              detection of COVID-19 from smartwatch data. Nat Biomed
    wearable health technology, https://www.businessinsider.                Eng 2020; 4: 1208–1220.
    com/wearable-technology-healthcare-medical-devices (2021,           24. Quer G, Radin JM, Gadaleta M, et al. Wearable sensor data
    accessed 3 May 2021).                                                   and self-reported symptoms for COVID-19 detection. Nat
 7. GlobeNewswire. Global wearable medical devices markets                  Med 2021; 27: 73–77.
    report 2021: Market is expected to reach $24.38 billion in          25. Sawh M. SpO2 and pulse ox wearables: why blood oxygen is
    2025 at a CAGR of 24% - Long-term forecast to 2030.                     the big new health metric, https://www.wareable.com/
    https://www.globenewswire.com/en/news-release/2021/06/                  wearable-tech/pulse-oximeter-explained-ﬁtbit-garmin-
    14/2246369/28124/en/Global-Wearable-Medical-Devices-                    wearables-340 (2020, accessed 3 May 2021).
    Markets-Report-2021-Market-is-Expected-to-Reach-24-38-              26. Lauterbach CJ, Romano PA, Greisler LA, et al. Accuracy and
    Billion-in-2025-at-a-CAGR-of-24-Long-term-Forecast-to-                  reliability of commercial wrist-worn pulse oximeter during
    2030.html (2021, accessed 23 July 2021).                                normobaric hypoxia exposure under resting conditions. Res
 8. Lee SM and Lee D. Healthcare wearable devices: an analysis of key       Q Exerc Sport 2021; 92: 549–558.
    factors for continuous use intention. Serv Bus 2020; 14: 503–531.   27. de Barros GM, de Barros GM, dos Anjos MS, et al.
 9. Ates HC, Yetisen AK, Güder F, et al. Wearable devices for the           Smartwatch, oxygen saturation, and COVID-19: trustworthy?
    detection of COVID-19. Nat Electron 2021; 4: 13–14.                     ABCS Health Sci 2021; 46: e021101.
10. Piwek L, Ellis DA, Andrews S, et al. The rise of consumer           28. White DP. Sleep apnea. Proc Am Thorac Soc 2006; 3: 124–
    health wearables: promises and barriers. PLoS Med 2016;                 128.
    13: e1001953.                                                       29. Uddin MB, Chow CM and Su SW. Classiﬁcation methods to
11. Aliverti A. Wearable technology: role in respiratory health             detect sleep apnea in adults based on respiratory and oximetry
    and disease. Breathe (Sheff) 2017; 13: e27–e36.                         signals: a systematic review. Physiol Meas 2018; 39: 03TR01.
12. Raja JM, Elsakr C, Roman S, et al. Apple watch, wearables,          30. Chen Y, Wang W, Guo Y, et al. A single-center validation of
    and heart rhythm: where do we stand? Ann Transl Med                     the accuracy of a photoplethysmography-based smartwatch
    2019; 7: 417.                                                           for screening obstructive sleep apnea. Nat Sci Sleep 2021;
13. Hahnen C, Freeman CG, Haldar N, et al. Accuracy of vital                13: 1533–1544.
    signs measurements by a smartwatch and a portable health            31. World Health Organization. Pulse oximetry training manual,
    device: validation study. JMIR Mhealth Uhealth 2020; 8:                 https://www.who.int/patientsafety/safesurgery/pulse_
    e16811.                                                                 oximetry/who_ps_pulse_oxymetry_training_manual_en.pdf?
14. Lu L, Zhang J, Xie Y, et al. Wearable health devices in health          ua=1 (2011, accessed 16 March 2022).
    care: narrative systematic review. JMIR Mhealth Uhealth             32. Nitzan M, Romem A and Koppel R. Pulse oximetry: funda-
    2020; 8: e18907.                                                        mentals and technology update. Med Devices (Auckl) 2014;
15. Ahanathapillai V, Amor JD, Goodwin Z, et al. Preliminary                7: 231–239.
    study on activity monitoring using an android smart-watch.          33. Chung S-C and Sun C-C. Signal-enhancement reﬂective pulse
    Healthc Technol Lett 2015; 2: 34–39.                                    oximeter with Fresnel lens. Opt Commun 2016; 375: 9–14.
16. King CE and Sarrafzadeh M. A survey of smartwatches in              34. Lee H, Ko H and Lee J. Reﬂectance pulse oximetry: practical
    remote health monitoring. J Healthc Inform Res 2018; 2: 1–              issues and limitations. ICT Express 2016; 2: 195–198.
    24.                                                                 35. Kiruthiga A, Annamol A, Balamugesh T, et al. Reﬂectance
17. Perez MV, Mahaffey KW, Hedlin H, et al. Large-scale assess-             pulse oximetry for blood oxygen saturation measurement
    ment of a smartwatch to identify atrial ﬁbrillation. N Engl J           from diverse locations—a preliminary analysis. In: 2018
    Med 2019; 381: 1909–1917.                                               IEEE international symposium on medical measurements
18. Avram R, Ramsis M, Cristal AD, et al. Validation of an algo-            and applications (MeMeA) proceedings, Rome, Italy, 11–13
    rithm for continuous monitoring of atrial ﬁbrillation using a           June 2018, pp. 666–671: IEEE.
    consumer smartwatch. Heart Rhythm 2021; 18: 1482–1490.              36. Longmore SK, Lui GY, Naik G, et al. A comparison of
19. Asgari Mehrabadi M, Azimi I, Sarhaddi F, et al. Sleep track-            reﬂective photoplethysmography for detection of heart rate,
    ing of a commercially available smart ring and smartwatch               blood oxygen saturation, and respiration rate at various ana-
    against medical-grade actigraphy in everyday settings: instru-          tomical locations. Sensors (Basel) 2019; 19: 1874.
    ment validation study. JMIR Mhealth Uhealth 2020; 8:                37. Santos M, Vollam S, Pimentel MAF, et al. The use of wear-
    e20465.                                                                 able pulse oximeters in the prompt detection of hypoxemia
20. Kruizinga MD, Moll A, Zhuparris A, et al. Postdischarge                 and during movement: diagnostic accuracy study. J Med
    recovery after acute pediatric lung disease can be quantiﬁed            Internet Res 2022; 24: e28890.
    with digital biomarkers. Respiration 2021; 100: 979–988.            38. Hermand E, Coll C, Richalet J-P, et al. Accuracy and reliabil-
21. Niela-Vilén H, Auxier J, Ekholm E, et al. Pregnant women’s              ity of pulse O2 saturation measured by a wrist-worn oximeter.
    daily patterns of well-being before and during the COVID-19             Int J Sports Med 2021; 42: 1268–1273.




                                                              Reply-Add-40
                     Case: 24-1285                 Document: 30               Page: 77           Filed: 01/15/2024

Raﬂ et al.                                                                                                                                   9


39. Guber A, Epstein Shochet G, Kohn S, et al. Wrist-sensor pulse          50. Watson JN, Mannheimer PD and Kelley S. Nellcor™ pulse
    oximeter enables prolonged patient monitoring in chronic                   oximetry motion testing. White paper, Medtronic, USA,
    lung diseases. J Med Syst 2019; 43: 230.                                   https://www.medtronic.com/content/dam/covidien/library/us/
40. Kirszenblat R and Edouard P. Validation of the withings scanwatch          en/product/pulse-oximetry/nellcor-oximetry-motion-testing-
    as a wrist-worn reﬂective pulse oximeter: prospective interventional       white-paper.pdf (2016, accessed 16 March 2022).
    clinical study. J Med Internet Res 2021; 23: e27503.                   51. Gehring H, Duembgen L, Peterlein M, et al. Hemoximetry as
41. Pipek LZ, Nascimento RFV, Acencio MMP, et al.                              the “gold standard”? Error assessment based on differences
    Comparison of SpO2 and heart rate values on Apple Watch                    among identical blood gas analyzer devices of ﬁve manufac-
    and conventional commercial oximeters devices in patients                  turers. Anesth Analg 2007; 105: S24–S30.
    with lung disease. Sci Rep 2021; 11: 18901.                            52. Ross PA, Newth CJL and Khemani RG. Accuracy of pulse
42. Spaccarotella C, Polimeni A, Mancuso C, et al. Assessment of               oximetry in children. Pediatrics 2014; 133: 22–29.
    non-invasive measurements of oxygen saturation and heart               53. Verkruysse W, Bartula M, Bresch E, et al. Calibration of con-
    rate with an Apple Smartwatch: comparison with a standard                  tactless pulse oximetry. Anesth Analg 2017; 124: 136–145.
    pulse oximeter. J Clin Med 2022; 11: 1467.                             54. Kelly AM, McAlpine R and Kyle E. How accurate are pulse
43. U.S. Department of Health and Human Services, Food and                     oximeters in patients with acute exacerbations of chronic
    Drug Administration. Pulse oximeters - premarket notiﬁcation sub-          obstructive airways disease? Respir Med 2001; 95: 336–340.
    missions [510(k)s]: Guidance for industry and Food and Drug            55. Kohyama T, Moriyama K, Kanai R, et al. Accuracy of pulse
    Administration staff, https://www.fda.gov/regulatory-information/          oximeters in detecting hypoxemia in patients with chronic
    search-fda-guidance-documents/pulse-oximeters-premarket-                   thromboembolic pulmonary hypertension. PLoS One 2015;
    notiﬁcation-submissions-510ks-guidance-industry-and-                       10: e0126979.
    food-and-drug (2013, accessed 16 March 2022).                          56. Bickler PE, Feiner JR, Lipnick MS, et al. Effects of acute, pro-
44. ISO 80601-2-61:2017. Medical electrical equipment—Part                     found hypoxia on healthy humans: implications for safety of
    2-61: Particular requirements for basic safety and essential               tests evaluating pulse oximetry or tissue oximetry perform-
    performance of pulse oximeter equipment.                                   ance. Anesth Analg 2017; 124: 146–153.
45. Bland JM and Altman DG. Agreement between methods of                   57. Charlton PH, Pilt K and Kyriacou PA. Establishing best prac-
    measurement with multiple observations per individual. J                   tices in photoplethysmography signal acquisition and process-
    Biopharm Stat 2007; 17: 571–582.                                           ing. Physiol Meas 2022; 43: 050301.
46. Raﬂ J, Kulhanek F, Kudrna P, et al. Response time of indir-            58. Buekers J, Theunis J, De Boever P, et al. Wearable ﬁnger
    ectly accessed gas exchange depends on measurement                         pulse oximetry for continuous oxygen saturation measure-
    method. Biomed Tech (Berl) 2018; 63: 647–655.                              ments during daily home routines of patients with chronic
47. Kolb JC, Farran P, Norris SR, et al. Validation of pulse oxim-             obstructive pulmonary disease (COPD) over one week: obser-
    etry during progressive normobaric hypoxia utilizing a port-               vational study. JMIR Mhealth Uhealth 2019; 7: e12866.
    able chamber. Can J Appl Physiol 2004; 29: 3–15.                       59. Nemcova A, Jordanova I, Varecka M, et al. Monitoring of
48. Batchelder PB and Raley DM. Maximizing the laboratory                      heart rate, blood oxygen saturation, and blood pressure
    setting for testing devices and understanding statistical                  using a smartphone. Biomed Signal Process Control 2020;
    output in pulse oximetry. Anesth Analg 2007; 105: S85–S94.                 59: 101928.
49. Louie A, Feiner JR, Bickler PE, et al. Four types of pulse oxi-        60. Li X, Dunn J, Salins D, et al. Digital health: tracking phy-
    meters accurately detect hypoxia during low perfusion and                  siomes and activity using wearable biosensors reveals useful
    motion. Anesthesiology 2018; 128: 520–530.                                 health-related information. PLoS Biol 2017; 15: e2001402.




                                                             Reply-Add-41
Case: 24-1285   Document: 30   Page: 78   Filed: 01/15/2024




           (;+,%,7




                      Reply-Add-42
Case: 24-1285  Document: 30 Page: 79 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-43
Case: 24-1285  Document: 30 Page: 80 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-44
Case: 24-1285  Document: 30 Page: 81 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-45
Case: 24-1285  Document: 30 Page: 82 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-46
Case: 24-1285  Document: 30 Page: 83 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-47
Case: 24-1285  Document: 30 Page: 84 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-48
Case: 24-1285  Document: 30 Page: 85 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-49
Case: 24-1285  Document: 30 Page: 86 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-50
Case: 24-1285  Document: 30 Page: 87 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-51
Case: 24-1285  Document: 30 Page: 88 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-52
Case: 24-1285  Document: 30 Page: 89 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-53
Case: 24-1285  Document: 30 Page: 90 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-54
Case: 24-1285  Document: 30 Page: 91 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-55
Case: 24-1285  Document: 30 Page: 92 Filed: 01/15/2024
        CONFIDENTIAL INFORMATION REDACTED




                     Reply-Add-56
Case: 24-1285   Document: 30   Page: 93   Filed: 01/15/2024




      (;+,%,7




                      Reply-Add-57
      Case: 24-1285       PUBLIC
                      Document: 30VERSION
                                    Page: 94   Filed: 01/15/2024




       UNITED STATES INTERNATIONAL TRADE COMMISSION
                       WASHINGTON, D.C.



In the Matter of
CERTAIN LIGHT-BASED PHYSIOLOGICAL
                                               Inv. No. 337-TA-1276
MEASUREMENT DEVICES AND
COMPONENTS THEREOF


       RESPONDENT APPLE INC.’S PETITION FOR REVIEW OF
    THE INITIAL DETERMINATION OF VIOLATION OF SECTION 337




                            Reply-Add-58
            Case: 24-1285           PUBLIC
                                Document: 30VERSION
                                              Page: 95           Filed: 01/15/2024




device in which it is mounted, to incorporate ergonomic features that allow for good optical

coupling with the tissue being measured, or for other technical or stylistic reasons.” RX-0411 at

7:58-63. Lumidigm also discloses that its sensor can be incorporated into a “portable electronic

device,” along with other standard components such as processors, memory, and wireless

communication interfaces, and provides as examples user-worn wristwatches, key fobs, cell

phones, and personal digital assistants. RX-0411 at Figs. 8A-E, Fig. 9, 3:35-37, 12:56-13:14,

11:60-12:2; Tr. [Warren] 1205:12-1206:7; Tr. [Rowe] 1152:4-25.

              2.      The ID Erred In Finding That Lumidigm Does Not Disclose
                      Measuring Oxygen Saturation.

       The asserted ’648 claims each require a “user-worn device” that can measure “oxygen” or

“oxygen saturation.”7 The ID erred by finding these limitations not satisfied based on errors of

law and fact when it concluded that Lumidigm does not enable a wrist-worn device for measuring

oxygen.

       First, the ID focused on the wrong issue—whether Lumidigm enables taking an oxygen

saturation measurement “at the wrist.” ID 115-118. This is irrelevant as none of the Poeze claims

recites or requires taking a blood oxygen measurement at the wrist—nor could they, because the

Poeze specification does not disclose or describe such a measurement. In fact, Masimo’s CEO

and named inventor Joseph Kiani conceded that Masimo did not possess the “feasibility” of a user-

worn device that could take a blood oxygen measurement at the wrist until years after the

provisional applications were filed (Tr. [Kiani] 147:3-10, 150:3-12 (confirming Masimo “did not

have feasibility” to make such a device “until maybe 2016, 2017”)).



7
  Asserted claims 22 and 28 of the ’502 patent similarly require a “user-worn” device that can
measure “oxygen” or “oxygen saturation.” The ID erred in its obviousness analysis of those claims
for the same reasons as stated herein.


                                             - 15 -

                                         Reply-Add-59
             Case: 24-1285            PUBLIC
                                  Document: 30VERSION
                                                Page: 96            Filed: 01/15/2024




       The ID accordingly erred as a matter of law by requiring Lumidigm to enable a claim

limitation that does not exist (a blood oxygen measurement “at the wrist”). While the ID

acknowledged that the Federal Circuit in In re Kumar has stated that a prima facie case of

obviousness may be rebutted with a showing that the prior art is not enabling (ID 115), the ID

improperly ignores that the relevant standard under Kumar is whether “the prior art method would

not produce or would not be expected to produce the claimed subject matter.” In re Kumar, 418

F.3d 1361, 1368 (Fed. Cir. 2005); id. (rebuttal to obviousness “may take the form of evidence that

the prior art does not enable the claimed subject matter”); see also Motorola, Inc. v. Interdigital

Tech. Corp., 121 F.3d 1461, 1471 (Fed. Cir. 1997) (“In order to render a claimed apparatus or

method obvious, the prior art must enable one skilled in the art to make and use the apparatus or

method.”) (citing Beckman Instr., Inc. v. LKB Produkter AB, 892 F.2d 1547, 1551 (Fed. Cir.

1989)). Here, the claimed invention is “a user-worn device” capable of taking an “oxygen

saturation” measurement.     In short, if Lumidigm’s wristwatch could take a blood oxygen

measurement anywhere on the body (it could), it would enable the claimed subject matter.

       Second, the ID committed a further legal error by requiring more enabling disclosure from

the prior art than the asserted patent itself provides. There is no disclosure, anywhere in the Poeze

specification, of taking a blood oxygen measurement at the wrist. Instead, as discussed in section

IV.A supra, all the disclosed embodiments are traditional finger-clip sensors for measuring

glucose. JX-001 at 10:2-11:1 (“this disclosure is described primarily in the context of a finger

measurement site”); 7:27-30 (“the present disclosure relates to an interface for a noninvasive

glucose sensor”); 10:30-39, 10:62-11:2, 12:26-59, 15:21-23, 16:44-51, 30:3-9.               The ID

accordingly imposed an enablement standard on the prior art that the Poeze patents themselves

would not meet, which was legal error. See, e.g., In re Publicover, 813 F. App’x at 532 (rejecting



                                               - 16 -

                                           Reply-Add-60
             Case: 24-1285             PUBLIC
                                   Document: 30VERSION
                                                 Page: 97             Filed: 01/15/2024




argument that prior art was “too sparse to adequately explain to a skilled artisan” how to implement

disputed limitation because the asserted patent was “just as sparse”); In re Epstein, 32 F.3d at 1568

(rejecting argument that prior art was not enabling where patent owner “did not provide the type

of detail in his specification that he now argues is necessary in prior art references”); In re Paulsen,

30 F.3d at 1481 (rejecting argument that prior art was not enabling where “under the enablement

standard that AST would have us apply to Yokoyama, the ’456 patent itself would be non-enabling.

. . . If detailed disclosure regarding implementation of known electronic and mechanical

components necessary to build a computer were essential for an anticipating reference, then the

disclosure in the ’456 patent would also fail to satisfy the enablement requirement.”).

        As the ID recognized, Lumidigm expressly discloses that its wristwatch can include

“‘extended functionality’ including measurements of ‘oxygenation and/or hemoglobin levels in

the blood.’” ID 114-15, citing RX-0411 at 17:64-18:2, 19:18-28. The ID found that this “extended

functionality” is “clearly applicable to the user-worn wristwatch” and relied on it in finding that

Lumidigm discloses and enables a user-worn device for measuring the “physiological parameter”

recited in 502 claim 12. ID 92. However, the ID found that Lumidigm does not enable a wrist-

worn device for measuring blood oxygen. Id. But under that standard, the asserted claims would

themselves be invalid for failure to describe or enable their full scope. Simply put, if Lumidigm’s

disclosure is not enabling of a wrist-worn device measuring blood oxygen (one “species” of user-

worn devices measuring the same), the asserted claims of the Poeze patents themselves would be

equally invalid for failure to describe or enable to full scope—that is, under the ID’s own logic,

the claims would fail on written description and enablement grounds.

        Third, even if enablement of a measurement at a wrist were required (it is not) and even if

the ID could properly require more from Lumidigm’s disclosure than from the Poeze patents’



                                                 - 17 -

                                            Reply-Add-61
              Case: 24-1285           PUBLIC
                                  Document: 30VERSION
                                                Page: 98            Filed: 01/15/2024




disclosure (it cannot), the ID still clearly erred in finding that a POSITA would not have understood

how to take a blood oxygen measurement, including at the wrist, from Lumidigm’s disclosure.

Given Lumidigm’s express disclosure of a wrist-worn device for taking an oxygen saturation

measurement, there is a presumption of enablement. See Impax Labs., Inc. v. Aventis Pharms.

Inc., 545 F.3d 1312, 1316 (Fed. Cir. 2008) (“[A]n accused infringer … enjoys a presumption that

the anticipating disclosure also enables the claimed invention.”). Complainants bore the burden

of overcoming this presumption with “persuasive evidence.” See id. The ID clearly erred in

finding they did so. ID 115.

       Apple’s expert Professor Warren confirmed that oxygen saturation measurements were a

“standard reflectance mode sensor application” long before the Poeze patents 8 and that a POSITA

“would not have needed any additional information to make [pulse oximetry functionality] work”

in Lumidigm’s watch embodiment because this functionality was well understood at the time. Tr.

1216:10-25.    Masimo’s own expert, Dr. Madisetti, provided no testimony to the contrary.

Although he characterized Lumidigm’s disclosure as “vague and aspirational” (1330:20-1331:11),

he provided no opinion on lack of enablement. The expert record thus stands unrebutted that a

POSITA would have understood how to take a blood oxygen measurement with a wrist-based

device. Indeed, for the reasons referenced above, if more disclosure were required to enable a

POSITA to take a measurement on the wrist, the Poeze patents would themselves fail the test. See

In re Epstein, 32 F.3d at 1568 (holding lack of disclosure in asserted patent regarding particular

limitations supported finding that a POSITA “would have known how to implement the features”

without explicit teachings and that the prior art was thus enabling).



8
 The Poeze specification similarly confirms that using pulse oximeters to take oxygen saturation
measurements was the “standard of care” before the Poeze Patents. JX-001 [’501 patent] 2:15-29.


                                               - 18 -

                                           Reply-Add-62
             Case: 24-1285            PUBLIC
                                  Document: 30VERSION
                                                Page: 99            Filed: 01/15/2024




       Significantly, Dr. Warren further confirmed that his own undergraduate students were

building pulse oximeters and taking oxygen saturation measurements—including at the wrist—by

2002, more than six years before the Poeze priority date:




RX-0632 [2002 photograph] (annotated); RX-0508 [2005 paper] (annotated); Tr. [Warren]

1195:24-1196:10, 1216:10-25, 11:96:8-10 (“Q. Is that [a student] on the left taking a measurement

from his wrist? A. It is, yes.”). The ID improperly dismissed this evidence because Dr. Warren

“provided no testimony regarding the results of those measurements.” (ID 117.) But multiple

corroborating documents, all published before the Poeze patents’ priority date, explicitly

corroborated Dr. Warren’s testimony that a POSITA would have understood how to take a blood

oxygen measurement at the wrist and that his students were doing so. See, e.g., RX-0504.0001

[2005 student poster identifying the “[w]rist” as a “[v]iable and [u]nobtrusive [m]easuring [s]ite[]”

for pulse oximeters); RX-0508.0007 [2005 student article identifying the “wrist” as location for

acquiring pulse oximetry signals]; RX-00335.001 at abstract, Fig. 3, 3:11-20, cl. 29 [patent, filed

in 1996, describing oximetry probe for measuring “oxygen saturation” at locations including

“wrist”].

       The ID premised its finding primarily on testimony from Apple engineers concerning the

challenges they faced in developing Apple Watch. ID 115-16. None of the cited testimony,


                                               - 19 -

                                           Reply-Add-63
            Case: 24-1285            PUBLIC
                                 Document: 30 VERSION
                                                Page: 100           Filed: 01/15/2024




however, suggests measuring blood oxygen at the wrist was impossible at the time of the Poeze

patents, or speaks at all to the disclosures of Lumidigm. Instead, as all these witnesses confirmed,

while the wrist does differ from other parts of the body, the challenges they faced in developing

Apple’s blood oxygen feature did not relate to the fundamental elements of pulse oximetry (which

the Poeze patents attempt to claim), but instead related to adding that known functionality into the

limited space of a small consumer device—while accounting for other considerations such as

limited battery power, interference from other features, internal shipping deadlines, and Apple’s

exacting industrial design standards that prioritized visual appearance. See Tr. [Warren] 1217:11-

21, 1243:5-16; Tr. [Land] 963:19-964:25, 971:14-972:8; Tr. [Venugopal] 832:20-833:10; Tr.

[Mehra] 853:22-854:855:3, 877:23-878:16; Tr. [Block] 902:13-903:2; Tr. [Waydo] 923:24-

924:16, 925:23-926:6, 938:21-24; Tr [Mannheimer] 998:15-999:11; Tr. [Kiani] 114:20-22. It was

Apple’s need to ensure the feature would work across diverse populations and environments that

took time to solve, not the underlying application of pulse oximetry. 9

       Finally, the ID also cited the testimony of one of Lumidigm’s inventors that he never

personally built a wrist-worn device that calculated blood oxygen. ID 115. But it is textbook law

that a patent can enable an invention even when there is no actual product. See, e.g., In re Antor

Media Corp., 689 F.3d 1282, 1290 (Fed. Cir. 2012) (“[O]ur precedent hold[s] that the invention in

a prior art publication need not have actually been made or performed to satisfy enablement.”).




9
 For the same reasons, the testimony of the Apple engineers does not support the secondary
consideration of skepticism of the claimed invention and the testimony and evidence presented by
Dr. Warren weighs against it.


                                               - 20 -

                                          Reply-Add-64
          Case: 24-1285       PUBLIC
                          Document: 30 VERSION
                                         Page: 101         Filed: 01/15/2024




Dated: January 23, 2023                       Respectfully Submitted,

                                              /s/ Sarah R. Frazier
                                              Mark D. Selwyn
                                              WILMER CUTLER PICKERING
                                                HALE AND DORR LLP
                                              2600 El Camino Real
                                              Suite 400
                                              Palo Alto, CA 94306
                                              Telephone: (650) 858-6031

                                              Joseph J. Mueller
                                              Richard Goldenberg
                                              Sarah R. Frazier
                                              WILMER CUTLER PICKERING
                                                HALE AND DORR LLP
                                              60 State Street
                                              Boston, MA 02109
                                              Telephone: (617) 526-6000

                                              Michael D. Esch
                                              David Cavanaugh
                                              WILMER CUTLER PICKERING
                                                HALE AND DORR LLP
                                              1875 Pennsylvania Ave., NW
                                              Washington, DC 20006
                                              Telephone: (202) 663-6000

                                              Counsel for Respondent Apple Inc.




                                    - 101 -

                                 Reply-Add-65
Case: 24-1285   Document: 30   Page: 102   Filed: 01/15/2024




           (;+,%,7




                       Reply-Add-66
Case: 24-1285   Document: 30   Page: 103   Filed: 01/15/2024




                       Reply-Add-67
Case: 24-1285   Document: 30   Page: 104   Filed: 01/15/2024




                       Reply-Add-68
Case: 24-1285   Document: 30   Page: 105   Filed: 01/15/2024




                       Reply-Add-69
Case: 24-1285   Document: 30   Page: 106   Filed: 01/15/2024




                       Reply-Add-70
Case: 24-1285   Document: 30   Page: 107   Filed: 01/15/2024




                       Reply-Add-71
Case: 24-1285   Document: 30   Page: 108   Filed: 01/15/2024




       (;+,%,7




                       Reply-Add-72
     Case: 24-1285       PUBLIC
                     Document: 30 VERSION
                                    Page: 109   Filed: 01/15/2024




       UNITED STATES INTERNATIONAL TRADE COMMISSION
                       WASHINGTON, D.C.



In the Matter of
CERTAIN LIGHT-BASED PHYSIOLOGICAL
                                                Inv. No. 337-TA-1276
MEASUREMENT DEVICES AND
COMPONENTS THEREOF


             RESPONDENT APPLE INC.’S RESPONSE TO
             COMPLAINANTS’ PETITION FOR REVIEW




                            Reply-Add-73
            Case: 24-1285           PUBLIC
                                Document: 30 VERSION
                                               Page: 110           Filed: 01/15/2024
      C                           A                                                        N




head, made from opaque materials, “to implement the optical surface in a convex shape for the

reasons that are explicitly disclosed in Lumidigm.” ID 101. 4

       B.      Issue No. 2: The ID Applied The Correct Law In Evaluating ’502 Claim 28
               Element [28G], And Substantial Evidence Supported Its Finding.

       Complainants once again attempt to turn a factual issue into a legal one, claiming that the

ID also applied the wrong legal standard in assessing the “transmissive windows” limitation.

CPFR 23. Complainants have identified no such legal errors, however. Nor have they identified

any clearly erroneous factual findings.

       The ALJ correctly found that Lumidigm satisfies the “transmissive windows” limitation

based on Lumidigm’s express teachings and Dr. Warren’s testimony on the state of the art. ID

131. As Professor Warren explained in the testimony cited in the ID, the use of transparent

windows or other optically transparent materials, within or across openings over photodiodes, was

“quite well-known” in the art, both to help transfer light and to protect the photodiodes from dirt



4
  On January 24 and 30, 2022, the PTAB denied institution of Apple’s IPR petitions on the asserted
Poeze patents. Those denials should not impact the issues here, because the petitions raised
different grounds of invalidity. To be clear, had the PTAB granted those petitions based on
different grounds and different prior art, that would have been yet further indication of the
profound invalidity problems that previously led the PTAB to invalidate over 99% of over 300
challenged claims in other patents in the Poeze patent family. But the most recent denials lacked
the benefit of the complete prior art record presented in the ITC. As the Commission and Federal
Circuit have recognized in other contexts, while the Commission can take judicial notice of IPR
proceedings—and Respondent has requested precisely that in its petition for review—the outcome
of IPR proceedings are not binding upon the Commission, particularly where the Federal Circuit
has not yet considered the issue. Certain Hybrid Electric Vehicles and Components Thereof, Inv.
No. 337-1042, Notice of Investigation at 1 (Mar. 7, 2017) (Commission instituting investigation
over proposed Respondents’ objection that asserted claims had been found unpatentable in IPR
proceedings and were on appeal to Federal Circuit); see also Nobel Biocare Servs. AG v. Instradent
USA, Inc., 903 F.3d 1365, 1375 (Fed. Cir. 2018), as amended (Sept. 20, 2018) (“We thus conclude
that our prior affirmance of the ITC’s judgment on a different factual record … does not dictate
the outcome of this appeal [from an IPR decision].”); Cisco Sys., Inc. v. Int’l Trade Comm’n, No.,
2017-2289 (Fed. Cir. Sept. 22, 2017) (declining to stay exclusion order pending inter partes
review).

                                              - 17 -

                                          Reply-Add-74
            Case: 24-1285            PUBLIC
                                 Document: 30 VERSION
                                                Page: 111           Filed: 01/15/2024
      C                            A                                                         N




or debris. Tr. [Warren] 1193:24-1194:14, 1221:16-1222-9. Professor Warren provided many

examples including those below:




Id.; see also RX-0035, RX-0179, RX-0670, RX-0648, RX-0667, RX0670. Consistent with this

well-known idea, Lumidigm explains that its sensor can incorporate “an optical relay (not shown)

between the sensor surface 39 and the skin 40” that “transfers the light . . . from the skin back to

the detector(s) while minimizing light loss and spreading.” RX-0411 at 8:19-23. Lumidigm also

identifies specific examples of such optical relays, including “fiber optic face plates,” “individual

optical fibers,” and “fiber bundles,” and further confirms that “other mechanisms” are “known to

one of skill in the art.” RX-0411 at 8:23-26.

       As Dr. Warren further explained in the testimony cited in the ID, a POSITA would have

understood that the fiber optic face plates, individual optical fibers, and fiber bundles referenced

in Lumidigm were well known in the art, typically made of glass or plastic cladding, and could be

placed within or arranged over the openings to transfer light and to protect the photodiodes. Tr.



                                                - 18 -

                                           Reply-Add-75
            Case: 24-1285            PUBLIC
                                 Document: 30 VERSION
                                                Page: 112           Filed: 01/15/2024
      C                            A                                                         N




[Warren] 1221:16-1222:25. A POSITA would have further understood that the fiber optics face

plates referenced in Lumidigm could be implemented as a single faceplate or as individual

faceplates over each opening and would have been motivated to implement either alternative. Id.

       Complainants’ contention that Apple provided no evidence that a POSITA would have

been motivated to use separate windows over each opening (CPFR 23) is wrong. Dr. Warren

confirmed that the use of transmissive windows extending across openings over photodiodes was

“well-known” in the art and provided multiple examples. Tr. [Warren] 1221:16-1222:9, 1193:24-

1194:14. He further confirmed that a POSITA would have understood that the “fiber optic face

plates” explicitly referenced in Lumidigm could be implemented as a single face plate or as

individual faceplates over each of the openings. Id. at 1221:16-1222:9. Contrary to Complainants’

argument, this is not a case where the ALJ relied on “speculation” about what a POSITA could

“theoretically” do. Instead, Lumidigm identifies and advocates the use of a specific structure—a

“fiber optic face plate”—that a POSITA would recognize could be implemented in two ways. As

the Supreme Court has held and the Federal Circuit has repeatedly confirmed, where a small

number of alternatives are known in the art and a POSITA would understand how to implement

them, they are obvious. See KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 401 (2007) (“[I]f a

technique has been used to improve one device, and a person of ordinary skill in the art would

recognize that it would improve similar devices in the same way, using the technique is obvious

unless its actual application is beyond his or her skill.”); Asyst Techs., Inc. v. Emtrak, Inc., 544

F.3d 1310, 1315 (Fed. Cir. 2008) (claim obvious where it recited one of “two alternative means”

for communication, both of which “have long been known and understood by persons of ordinary

skill in the art,” and the prior art disclosed the other alternative means); In re Law, 303 F.2d 951,

953-54 (C.C.P.A. 1962) (confirming that choice between known “design alternatives” would be



                                               - 19 -

                                           Reply-Add-76
            Case: 24-1285            PUBLIC
                                 Document: 30 VERSION
                                                Page: 113           Filed: 01/15/2024
      C                            A                                                        N




obvious to a POSITA); In re Kuhle, 526 F.2d 553, 555 (C.C.P.A. 1975) (a “matter of design choice

within the skill of the art” is obvious); In re Magna Elecs., Inc., 611 F. App’x 969, 974 (Fed. Cir.

2015) (same); see also Koninklijke Philips N.V. v. Google LLC, 948 F.3d 1330, 1337 (Fed. Cir.

2020) (claims obvious based on disclosure of single prior art reference combined with knowledge

of a POSITA); Game & Tech. Co. v. Activision Blizzard Inc., 926 F.3d 1370, 1381 (Fed. Cir. 2019)

(confirming that patent can be obvious based on single prior art reference if it would have been

obvious to modify that reference to arrive at claimed invention).

       Finally, the caselaw cited by Complainants does not support their arguments. Adidas AG

v. Nike, Inc., 963 F.3d 1355 (Fed. Cir. 2020), affirmed a finding that a combination was not obvious

based on “[f]undamental differences [in methods] between” two prior art references. Id. at 1359.

And OSRAM Sylvania, Inc. v. American Induction Technologies, Inc., 701 F.3d 698, 706 (Fed.

Cir. 2012), simply found a lack of evidence to support a summary judgment ruling. In this case,

in contrast, there is no evidence of “fundamental differences” between two prior art references,

and the full trial record provided substantial evidence supporting the finding.

       C.      Issue No. 3: The ID Applied The Correct Law In Analyzing The Protrusion
               Comprising A Convex Surface Elements Of The ’502 And ’648 Claims, And
               Substantial Evidence Supports Its Findings.

       For the reasons discussed above (supra § III(A)(3)), the ID correctly found Lumidigm

rendered Limitation [1C] of the ’501 patent obvious. Complainants have not identified any legal

errors in the ID’s analysis. Nor have they identified any clearly erroneous factual findings.

Complainants’ similar arguments regarding the ’502 and ’648 claims should be rejected.




                                               - 20 -

                                          Reply-Add-77
            Case: 24-1285            PUBLIC
                                 Document: 30 VERSION
                                                Page: 114             Filed: 01/15/2024
       C                           A                                                        N




sensor products, the ID (at 329) correctly held that Complainants cannot show satisfaction of the

economic prong under subparagraph (A) for either the early or the current rainbow sensor products.

VII.   CONCLUSION

       For the foregoing reasons and those presented in Apple’s own Petition for Review, the

Commission should take review but confine its analysis to issues pertaining to the only two patent

claims found to be violated in the ID, i.e., ’648 claims 24 and 30.

Dated: January 31, 2023                                 Respectfully Submitted,
                                                        /s/ Sarah R. Frazier
                                                        Mark D. Selwyn
                                                        WILMER CUTLER PICKERING
                                                          HALE AND DORR LLP
                                                        2600 El Camino Real
                                                        Suite 400
                                                        Palo Alto, CA 94306
                                                        Telephone: (650) 858-6031

                                                        Joseph J. Mueller
                                                        Richard Goldenberg
                                                        Sarah R. Frazier
                                                        WILMER CUTLER PICKERING
                                                          HALE AND DORR LLP
                                                        60 State Street
                                                        Boston, MA 02109
                                                        Telephone: (617) 526-6000

                                                        Michael D. Esch
                                                        David Cavanaugh
                                                        WILMER CUTLER PICKERING
                                                          HALE AND DORR LLP
                                                        2100 Pennsylvania Ave., NW
                                                        Washington, DC 20037
                                                        Telephone: (202) 663-6000

                                                        Counsel for Respondent Apple Inc.




                                               - 84 -

                                          Reply-Add-78
Case: 24-1285   Document: 30   Page: 115   Filed: 01/15/2024




          (;+,%,7




                       Reply-Add-79
          Case: 24-1285   Document: 30    Page: 116    Filed: 01/15/2024




            UNITED STATES INTERNATIONAL TRADE COMMISSION
                            WASHINGTON, D.C.

                    Before the Honorable Monica Bhattacharyya
                             Administrative Law Judge

In the Matter of
                                                   Inv. No. 337-TA-1276
CERTAIN LIGHT-BASED PHYSIOLOGICAL
MEASUREMENT DEVICES AND
COMPONENTS THEREOF


  COMPLAINANTS’ OPPOSITION TO RESPONDENT APPLE INC.’S MOTION TO
STAY EXCLUSION AND CEASE AND DESIST ORDERS PENDING APPEAL AND/OR
        IN LIGHT OF THE POTENTIAL GOVERNMENT SHUTDOWN




                                  Reply-Add-80
            Case: 24-1285         Document: 30          Page: 117     Filed: 01/15/2024




disclosure. When Apple presented its IPR petitions to the Patent Office, it always combined

Lumidigm with other references. And where it made those combinations, the Patent Office

rejected Apple’s “proposed amalgamation of prior art teachings” as a “convoluted combination”

that was “grounded in hindsight rather than based on due consideration of the teachings of the

pertinent prior art.” CRRPR (Doc ID 789044), Appx. A at 18-19. The Patent Office held “‘we

cannot allow hindsight bias to be the thread that stitches together prior art patches into something

that is the claimed invention.’” Id. at 17 (quoting Metalcraft, 848 F.3d at 1367). The Commission

correctly observed that its findings and conclusions were consistent with those of the Patent Office.

Comm’n Op. at 42, 43.

        Moreover, even if substantial evidence did not support the Final ID finding that Lumidigm

would not have enabled a POSITA to measure oxygen saturation at the wrist, such error would

have been harmless in view of the Commission’s additional findings concerning Lumidigm. When

affirming the Final ID’s nonobviousness conclusion, the Commission made detailed findings of

fact that provide independent grounds supporting its conclusion of nonobviousness for claims 22

and 28 of the ’502 patent and claims 12, 24, and 30 of the ’648 patent. Indeed, as explained above,

the Commission made detailed factual findings that various additional claim elements were not

taught by Lumidigm or combinations therewith. Comm’n Op. at 21-44. Thus, Apple’s argument

concerning Lumidigm could not possibly undermine the Commission’s non-obviousness

conclusion. Accordingly, Apple’s Motion identifies, at most, a harmless factual error, which

cannot possibly present an admittedly difficult legal question warranting a stay pending appeal.

          IV. APPLE HAS NOT SHOWN THE OTHER FACTORS REQUIRED
                           FOR A STAY ANALYSIS

        Even if Apple could identify any admittedly difficult legal question in the Commission’s

ruling, which it has not, Apple fails to satisfy any of the other factors in a stay analysis.



                                                 -21-

                                            Reply-Add-81
            Case: 24-1285        Document: 30          Page: 118     Filed: 01/15/2024




A.     Apple’s Assertions of Irreparable Harm Are Unsupported and Speculative

       Apple argues it would “lose goodwill” and “suffer significant damage to its reputation” as

a result of this Commission’s remedial orders. Br. at 18. That is pure attorney argument supported

by no evidence. Moreover, even if it were true, Apple assumed that risk when it chose to continue

to import new models of Apple Watches that infringe Masimo’s patents every year since this

investigation began in 2021.      Apple cites no Commission decision in which goodwill or

reputational harm provided a sufficient basis to delay enforcement of the Commission’s remedies.

       The Commission has already rejected Apple’s assertions of harm based on purported

supply chain issues, finding that “Apple failed to substantiate its position that manufacturers of

suitable alternative products lack the manufacturing capability to ramp up production to meet any

demand.” Comm’n Op. at 110.

       Apple also suggests that a stay could minimize the public statements regarding Apple’s

copying of Masimo’s technology and Apple’s pattern of “efficient infringement.” Br. at 19-20.

But Apple’s pursuit of Masimo’s technology and Apple’s hiring away of Masimo employees is

well documented in numerous public filings outside of this proceeding. CRPNR (Doc. ID 798353)

at Ex. 54; see also Doc. ID 799194 (public version) at Ex. 54 (public testimony); Appendix A-C

(public filings in California). So is Apple’s routine practice of efficient infringement. See Alliance

for U.S. Startups Stmt. (Doc. ID 791674) (discussing Apple’s practices).            Nothing in this

investigation can erase Apple’s conduct from public scrutiny.

B.     Masimo Is Entitled to Prompt Enforcement of the Remedial Orders

       Apple suggests that the parties’ pending litigation in Delaware and the current sales

revenue for Masimo’s W1 Watch means that Masimo will not suffer significant harm. Again,

Apple cites no Commission decision granting a stay in such circumstances.




                                                -22-

                                           Reply-Add-82
            Case: 24-1285        Document: 30         Page: 119      Filed: 01/15/2024




specifically requested the parties in May 2023 to “explain how easily the infringing features of the

Apple Watches could be removed,” “whether Apple is working on any redesigns with respect to

the infringing features and how long implementations of any redesigns would take.” NR (Doc ID

796515) at 5. Apple was not forthcoming, and instead informed the Commission in June 2023 it

was merely “exploring” a design change that “would require significant human and other resources

to execute.” RRNR (Doc. ID 797870) at 72-73. Just four months later, Apple now admits that it

has initiated a proceeding with the EOE Branch to adjudicate redesigned watches, is seeking

expedited treatment in that proceeding, and is concerned that a government shutdown will prevent

prompt adjudication. Br. at 4 n.1, 5, 27. But that is a problem of Apple’s own making. Apple

either concealed that redesign throughout the ITC proceedings, or assumed that it would prevail

before the Commission. Apple assumed the risk of exclusion, and cannot complain now that it

might lack the time to have its proposed redesign promptly adjudicated by the EOE Branch. The

Commission should reject Apple’s attempt to avoid the consequences of its infringement, of its

decision not to disclose its redesign to the ITC, and of the Commission’s orders.

                                      VI. CONCLUSION

       The Commission should deny Apple’s second attempt to stay enforcement of its remedial

orders. There is no admittedly difficult legal question in the Commission’s ruling, and Apple’s

distortion of the record does not show otherwise.

                                           Respectfully submitted,


Dated: November 9, 2023                   By: /s/ Sheila N. Swaroop
                                             Stephen C. Jensen
                                             Joseph R. Re
                                             Irfan A. Lateef
                                             Sheila N. Swaroop
                                             Ted. M. Cannon
                                             Brian C. Claassen



                                               -28-

                                          Reply-Add-83
Case: 24-1285   Document: 30      Page: 120   Filed: 01/15/2024




                         Alan G. Laquer
                         Kendall M. Loebbaka
                         Daniel C. Kiang
                         Douglas B. Wentzel
                         KNOBBE, MARTENS, OLSON & BEAR, LLP
                         2040 Main Street, Fourteenth Floor
                         Irvine, CA 92614
                         Telephone: (949) 760-0404
                         Facsimile: (949) 760-9502

                         William R. Zimmerman
                         Jonathan E. Bachand
                         KNOBBE, MARTENS, OLSON & BEAR, LLP
                         1717 Pennsylvania Avenue N.W., Suite 900
                         Washington, DC 20006
                         Telephone: (202) 640-6400
                         Facsimile: (202) 640-6401

                         Carol Pitzel Cruz
                         KNOBBE, MARTENS, OLSON & BEAR, LLP
                         925 4th Ave., #2500
                         Seattle, WA 98104
                         Telephone: (206) 405-2000
                         Facsimile: (206) 405 2001

                         Karl W. Kowallis
                         Matthew S. Friedrichs
                         KNOBBE, MARTENS, OLSON & BEAR, LLP
                         1155 Avenue of the Americas
                         24th Floor
                         New York, NY 10036
                         Telephone: (212) 849-3000
                         Facsimile: (212) 849-3001

                         Counsel for Complainants
                         Masimo Corporation and
                         Cercacor Laboratories, Inc.




                           -29-

                       Reply-Add-84
          Case: 24-1285     Document: 30    Page: 121    Filed: 01/15/2024




                          CERTIFICATE OF SERVICE

      I hereby certify that on the 15th day of January, 2024, I caused the

Confidential Reply in Support of Appellant Apple Inc.’s Emergency Motion to

Stay Enforcement of ITC’s Orders Pending Review to be emailed to counsel for

Appellee International Trade Commission and Intervenors Masimo Corporation;

Cercacor Laboratories, Inc. at the following email address listed on the Court’s

docket:



Office of the General Counsel               Counsel for Masimo Corporation and
U.S. International Trade Commission         Cercacor Laboratories, Inc.
ronald.traud@usitc.gov                      Masimo.AppleITC@knobbe.com.
wayne.herrington@usitc.gov                  joe.re@knobbe.com
michelle.klancnik@usitc.gov                 jonathan.bachand@knobbe.com
houda.morad@usitc.gov                       brian.claassen@knobbe.com
                                            steve.jensen@knobbe.com
                                            sheila.swaroop@knobbe.com


                                                 /s/ Mark D. Selwyn
                                                 MARK D. SELWYN
                                                 WILMER CUTLER PICKERING
                                                    HALE AND DORR LLP
                                                 2600 El Camino Real, Suite 400
                                                 Palo Alto, CA 94306
                                                 (650) 858-6000
         Case: 24-1285   Document: 30   Page: 122   Filed: 01/15/2024




            CERTIFICATE OF CONFIDENTIAL MATERIAL

The foregoing document contains 13 number of unique words (including numbers)
marked confidential.
        This number does not exceed the maximum of 15 words permitted by
  X     Fed. Cir. R. 25.1(d)(1)(A).

        This number does not exceed the maximum of 50 words permitted by
        Fed. Cir. R. 25.1(d)(1)(B) for cases under 19 U.S.C. § 1516a or 28
        U.S.C. § 1491(b).

        This number exceeds the maximum permitted by Federal Circuit Rule
        25.1(d)(1), and the filing is accompanied by a motion to waive the
        confidentiality requirements.


                                             /s/ Mark D. Selwyn
                                             MARK D. SELWYN
                                             WILMER CUTLER PICKERING
                                                HALE AND DORR LLP
                                             2600 El Camino Real, Suite 400
                                             Palo Alto, CA 94306
                                             (650) 858-6000
January 15, 2024
            Case: 24-1285        Document: 30   Page: 123   Filed: 01/15/2024




           CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
                           LIMITATIONS

      The foregoing filing complies with the relevant type-volume limitation of

the Federal Rules of Appellate Procedure and Federal Circuit Rules because:

      1.      The filing has been prepared using a proportionally-spaced typeface

and includes 2,598 words.

      2.      The filing has been prepared using Microsoft Word for Office 365 in

14-point Times New Roman font. As permitted by Fed. R. App. P. 32(g), the

undersigned has relied upon the word count feature of this word processing system

in preparing this certificate.



                                                    /s/ Mark D. Selwyn
                                                    MARK D. SELWYN
                                                    WILMER CUTLER PICKERING
                                                       HALE AND DORR LLP
                                                    2600 El Camino Real, Suite 400
                                                    Palo Alto, CA 94306
                                                    (650) 858-6000
January 15, 2024
